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EXHIBIT B

 

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Method
Sample

Global Strategy Group, a research firm that was hired to collect the survey data, used random
digit dialing to identify a sample of 600 respondents Of those responses, half came from Buffalo
and half came from Rochester (see Table l). The majority of responses were obtained from
calling landline numbers (n = 45 5). The remaining responses were obtained nom calls to cell
phones, with 73 cell phone responses corning from the Rochester area and 72 cell phone
responses coming Hom the Buffalo area.

Table l: Respondents by Area

 

 

Area N % of Area % of Tota|
Buffa/o 300 100.0 50.0
Allegany 10 3.3 1.7
Cattaraugus 15 5.0 2.5
Chautauqua 26 8.7 4.3
Erie 178 59.3 29.7
Genesee 12 4.0 2.0
Niagara 43 14.3 7.2
Or|eans 8 2.7 1.3
Wyoming 8 2.7 1.3
Rochester 300 100.0 50.0
Livingston 16 5.3 2.7
Monroe 175 58.3 29.2
Ontario 25 8.3 4.2
Seneca 8 2.7 1.3
Wayne 22 7.3 3.7
Yates 6 2.0 1.0
Steuben 23 7.7 3.8
Schuyler 4 1.3 .7
Chemung 21 7.0 3.5
Tota/ 600 100.0

 

Because the goal of the Survey was to reach conclusions about people Who could potentially
serve as jurors in this case, the initial set of questions concerned jury eligibility First,
respondents were asked if the interviewer could speak to the person in the household who is a
US citizen, over 18, with the most recent birthday. Then the respondents were asked one to four
questions used to determine if the person was a potential member of the Federal jury pool (i.e.,
did they represent the population of interest). These questions asked the respondents to indicate
whether they had a New York State driver’s license, filed a tax-return in New York State, or
received New York State benefits such as unemployment or home relief. All 600 respondents
were potentially eligible to serve as jurors. Their responses are displayed in Table 2.

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Table 2: Total Eligibility Requirernents

 

 

E|igibi|ity Criteria N % of Tota|

New York driver’s license 581 96.8
New York tax-return 17 2.8
New York Unemployment 1 .2
New York Home relief 1 .2
Total 600 100.0

 

Community Survey Instrument

This survey instrument was designed to assess community prejudice and case knowledge, if any,
among potential jurors in Rochester and Buffalo. The survey contained 22 items. We group the
questions in this report by subject matter.

0 Recall and Recognition (Questions 2-7). These questions probed for respondents’
knowledge of the incident and the defendant

¢ Juror Bias (Questions 8, 10-12, 16). These questions assessed Whether respondents felt
they could be fair and impartial juror and their impressions of the defendant.

¢ News and Media (Questions 1, 13-14). These questions asked respondents to describe
how closely they followed the news, both generally and specifically for information
about this case, and the sources from which they learned information about the case.

0 Social Distance (Questions 15, 17-20). These questions assessed the extent to which the
respondents were socially close to the event. Specifically, these questions assessed
whether the respondents were affected by the event, worked for Xerox, or knew someone
Who did.

0 Racial Discrimination (Questions 21-22). These questions assessed respondents’
opinions about racial discrimination in the workplace and those who file racial
discrimination claims. '

Analysis

For each question, we present a table with the whole number of responses (N) for each category
and the percent of those responses (%) in each district. Each table is accompanied by a chi-
squared test of independence. These tests indicate whether the observed differences likely are
due to sampling error or represent real differences between each federal district. Probability
values less than 5% (p < .050) are accepted in the field as good evidence for real differences

Missing data occur because not every respondent was asked every question. Missing data is
deleted pair wise, meaning that individuals that are excluded in some analyses are included
elsewhere (i.e., where they have given valid responses).

 

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Results
Recall and Recognition

All respondents (N = 600) answered the case recognition questions (Questions 2-4). These
questions prompted the respondents to remember the case with increasing levels of specificity.
Question 2 asked “Do you remember hearing a story in August, 2003, about the robbery of a
federal credit union on the Webster New York Campus of Xerox?” The results are presented in
Table 3. Participants were significantly more likely to remember the case if they were from
Rochester than from Buffalo. '

Table 3: Incident Recall to lSt Prompt (Question 2).

 

 

 

Rochester Buffalo Total
Responses N % N % N %
Yes 156 52.0 30 10.0 186 31.0
No 137 45.7 266 88.7 403 67.2
Don’t knoW/Refused 7 2.3 4 1.3 71 1. 8
Tota/ 300 100.0 300 100.0 600 100.0

 

Xf’-(i, N= 589)=126.64,p < .001, V= .46

The 414 respondents who did not recognize the case after the first prompt were asked Question
31 “If 1 said that a customer was fatally shot, another was injured and that surveillance footage
of the crime was shown on news and TV media, would that sound familiar?” The responses are
presented in Table 4. Again, a significantly larger percentage of respondents from Rochester than
from Buffalo recognized the case after this prompt.

Table 4: Incident Recall to 2’lcl Prompt (Question 3).

 

 

Rochester Buffalo Total
Responses N % N % N %
Yes 23 16.0 21 7.8 44 10.6
No 117 81.3 241 89.3 358 86.5
Don’t knoW/Refused 4 2.8 8 3.0 12 2.9
Total 144 100. 0 270 100. 0 414 100. 0

 

Xz(i, N= 402) = 6.63,p =.010,1/=.13

The 370 respondents who did not recognize the case after the first two prompts were asked
Question 4: “If] said that a manhunt for the culprit ensued and that the manhunt resulted in
local roadblocks, police checkpoints, and a multiple hour lockdown of the Xerox campus, would
that sound familiar?” The results are presented in Table 5. In this case, there were no statistically
significant differences in case recall based on this prompt between Rochester and Buffalo.

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Table 5: Incident Recall to 3“1 Prompt (Question 4).

 

 

Rochester Buffalo Tota/
Responses N % N % N %
Yes 7 5.8 21 8.4 28 7. 6
No 113 93.4 225 90.4 338 91.4
Don’t know/Refused 1 0.8 3 1.2 4 1.1
Total 121 100. 0 249 100. 0 370 100. 0

 

Xz(i, N= 366) = 0.83,p = .361, V= .05

We combined answers from Questions 2-4 into a measure of Incident Recall. Here a “Yes”
response indicates that the respondent recognized the case from any of three prompts. The results
are in Table 6. Overall, 258 respondents recognized the case. A significantly higher percentage
of respondents from Rochester than from Buffalo remembered the case.

Table 6: Total Recall of the Incident (Questions 2-4).

 

 

Rochester Buffalo Tota/
Responses N % N % N %
Yes 186 62.0 72 24.0 258 43. 0
No 114 38.0 228 76.0 342 57. 0
Total 300 100. 0 300 100.0 600 100. 0

 

xz(i, N= 600) = 88.37,p <.001,1/=.38
All respondents were also asked Question 51 “Are you aware that an individual has been
charged in this incident with armed robbery resulting in death?” The results are in Table 7.

More respondents from Rochester indicated that they knew that about charges in this case.

Table 7 : Aware of Charges in Case (Question 5).

 

 

Rochester Buffalo Total
Responses N % N % N %
Yes 106 35.3 14 4.7 120 20.0
No 185 61.7 283 94.3 468 78.0
Don’t know/Refused 9 3.0% 3 1.0 12 2.0
Total 300 100. 0 300 100. 0 600 100. 0

 

Xz(i, N= 588) = 91.00,p < .001, V= .39

All respondents were asked if they could recall the name of the individual charged (Question 6:
“An individual has been charged for this crime. Do you recall the name of this individual ?”).
Very few indicated the correct name (Richard Wilbern) and there were no statistically significant
differences between Rochester and Buffalo (See Table 8).

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Table 8: Recall of “Richard Wilbern” (Question 6).

 

 

 

Rochester Buffalo ` Total
Responses N % N % N %
Yes, Correct 4 1.3 2 0.7 6 1.0
Yes, incorrect 2 0.7 1 0.3 3 0.5
No 288 96.0 296 98.7 584 97.3
Don’t know/Refused 6 2_0 1 0.3% 7 1.2
Total 300 100.0 300 100.0 600 100.0

 

Xz(z, N: 593) = 1.07, p = .586, V: .04

Respondents that could not correctly recall the name “Richard Wilbern” were asked if they
recognized the name “Ricliard Wilbern” (Question 7: “Do you recall that the name of the
individual is Richard Wilbern ?”). More respondents from Rochester than Buffalo reported that
they did recognize the name once prompted (see Table 9).

Table 9: Recognition of “Richard Wilbern” (Question 7).

 

 

Rochester Buffalo Tota/
Responses N % N % N %
Yes 23 7.8 7 2.3 30 5. 1
No v 258 87.2 287 96.3 545 91. 8
Don’t know/Refused 15 5.1 4 1.3 19 3.2
Total 296 100. 0 298 100. 0 594 100. 0

 

xz(i, N= 575) = 9.79, p =.002,,1/=.13

We combined the responses to Question 6 and 7 to form a measure of Defendant Recognition.
Overall, significantly more respondents recognized the defendant’s name from Rochester than
from Buffalo (see Table 10).

Table 102 Recognition or Recall of Name (Questions 6-7)

 

 

Rochester Buffalo Tota/
Responses N % N % N %
Yes 27 9.0 9 3.0 36 6. 0
No 273 91 .0 291 97.0 564 94. 0
Total 300 100. 0 300 100. 0 600 100. 0

 

xz(i, N= 600) = 9.57,p = .002, V= .126

Finally we combined responses from this section to create a measure of Total Recall. A “Yes”
response for this variable indicates that the respondent said “Yes” to Questions 2, 3, 4, 6 or 7 .
The results are presented in Table ll. Sixty-three percent of respondents from Rochester
indicated some case recognition whereas only 25 percent of respondents from Buffalo indicated
the same. This difference was statistically significant

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Table ll: Total case recall (Q2|3|4j6\7)

 

 

 

_ Rochester Buffalo Total
Responses N % N % N %
Yes 189 63.0 75 25.0 264 44.0
No 111 37.0 225 75.0 336 56.0
Total 300 100. 0 300 100. 0 600 100. 0

 

xz(l, N= 600) = 87.9i,p <.001,1/=,38
Juror Bias

All respondents were asked to give their impressions on the Xerox Corporation (Question l6:
“What would you say is your impression if any, of Xerox Corporation?”). The results are
presented in Table 12. Participants from Rochester were more likely to have an opinion about
Xerox, whether positive or negative Respondents from Buffalo were more likely than
respondents from Rochester to say they have a neutral opinion or none at all.

Table l2: lmpressions of Xerox (Question 16)

 

 

Rochester Buffalo Total

Responses N % N % N %

Very positive 41 13.7 28 9.3 _ 69 11.5
Somewhat positive 72 24.0 51 17.0 123 20. 5
Neutra| 140 46.7 174 58.0 314 52.3
Somewhat negative 18 6.0 3 1.0 21 3.5
Very negative 7 2.3 4 1.3 11 1.8
No impression 8 2.7 21 7.0 29 4.8
Don’t know/Refused 14 4.7 19 6.3 33 5.5
Tota/ 300 100. 0 300 100. 0 600 100. 0

 

X2(4, N= 538) = 20.67, p < .001, t/= .196

Respondents who recalled the case (Total Recall = 264) were also asked to give their opinions on
the defendant, Richard Wilbern (Question 81 “What would you say is your impression, if any, of
the defendant, Richard Wilbern?”). The results are presented in Table 13. There were no
statistically signiiicant differences in opinion between Rochester and Buffalo.

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7. Do you recall that the name of the individual is Richard Wilbern? (DO NOT READ

RESPGNSES)
l. Yes
2. No

3. Don’t know/Refused (DO NOT READ)
[END OF MANDATORY QUESTIONS]
[CONTINUE TG 8 IF Q2, Q3, Q4 or Q7 is “YES” OR Q6 is “Richard Wilbern”]
[Otherwise SKIP TO Ql6]

8. What would you say is your impression, if any, of the defendant, Richard Wilbern?
Would you say your impression is: (READ RESPONSES)

[Run answers counter-balanced] 4

l. Very positive
2. Somewhat positive
3. Neutral
4. Somewhat negative
5. Very negative
6. No impression (DO NOT READ)
7. Don’t know/Refused (DO NOT READ)
9. What do you think is the most compelling evidence, if any, in the case against

Richard Wilbern? (OPEN ENDED, SPECIFY)

 

 

10. What is your opinion about whether Richard Wilbern is guilty of robbery resulting
in death? Would you say he is:

[Run answers counter-balanced]

l. Definitely guilty

2. Probably guilty

3, Not certain

4. Probably not guilty

5. Definitely not guilty

6. Don’t Know/Refused (DO NOT READ)

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Table 131 lmpressions of Richard Wilbern (Question 8)

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Rochester Buffalo Total

Responses N % N % N %

Very positive 5 2.6 0 0.0 5 1. 9
Somewhat positive 5 2.6 0 0.0 5 1.9
Neutral 70 37.0 26 34.7 96 36.4
Somewhat negative 29 15.3 6 8.0 35 13.3
Very negative 36 19.0 14 18.7 50 18.9
No impression 24 12.7 18 24.0 42 15.9
Don’t know/Refused 20 10.6 11 14.7 31 11.7
Total 189 100. 0 75 100. 0 264 100. 0

 

98(4,1\1: 191) = 4.99,p = .289, V= .162

Question 10 asked respondents, “What is your opinion about whether Richard Wilbern is guilty

of robbery resulting in death ?” The results are presented in Table l4. There were no statistically

significant differences in opinion between Rochester and Buffalo.

Table 141 Opinions on Guilt (Question 10)

 

 

 

Rochester Buffalo Total

Responses N % N % N %

Definitely guilty 16 8.5 3 4.0 19 7.2
Probably guilty 41 21 .7 10 13.3 51 19.3
Not certain 84 44.4 42 56.0 126 47. 7
Probab|y not guilty 9 4.8 4 5,3 13 4.9
Definitely not guilty 0 0.0 0 0.0 0 0.0
Don’t Know/Refused 39 20.6 16 21 .3 55 20. 8
Total 1 89 1 00. 0 75 100. 0 264 100. 0

 

X2(3, N= 209) = 4.98,p :.173,1/=.154

Question ll asked respondents, “In light of what you have learned from the news and what you
have told us, if you were a juror in this case, do you think that you could set aside this opinion
and render a verdict based only on the trial evidence ?” The results are presented in Table 15.
There were no statistically significant differences in opinion between Rochester and Buffalo.

 

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Table 152 Render Fair Verdict (Question 11)

 

 

 

Rochester Buffalo Total

Responses N % N % N %

Definitely Yes 89 47.1 34 45.3 123 46.6
Probably Yes 52 27.5 19 25.3 71 26.9
Not Sure 30 15.9 15 20.0 45 17.0
Probably No 9 4.8 2 2.7 11 4.2
Definitely No 5 2.6 3 4.0 8 3.0
Don’t know/Refused 4 2.1 2 2.7 6 2.3
Total 189 100. 0 75 100. 0 264 100.0

 

X2(4, N=zss) = 1.56, p = .816, t/: .08

Question 12 asked respondents, “In light of what you have learned from the news and what you
have told us, do you think that you could be a fair and impartial juror in a case involving '
charges against Richard Wilbern??” The results are presented in Table 16. There were no
statistically significant differences in opinion between Rochester and Buffalo.

Table 161 Fair and lmpartial Juror (Question 12)

 

 

 

Rochester Buffan Total

Responses N % N % N %

Definitely Yes 86 45.5 29 38.7 115 43. 6
Probabiy Yes 48 25.4 21 28.0 69 26. 1
Not Sure 23 12.2 13 17.3 36 13.6
Probab|y No 18 9.5 5 6.7 23 8. 7
Definitely No 12 6.3 6 8.0 18 6. 8
Don’t know/Refused 2 1.1 1 1.3 3 1.1
Total 189 100. 0 75 100. 0 264 100. 0

 

x2(4, N= 261) = 2.49,p = .647, V= .10

News and Media

'We also asked a number of questions about respondents’ consumption of news and media
relating to the case. Question 1 asked “How closely do you follow the news?” as a general
introduction to this set of questions The results are presented in Table 17 .

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Table 17: Follow the News in General (Question 1)

 

 

Rochester Buffalo Total

Responses N % N % N %

Very closely 108 36.0 110 36.7 218 36.3
Fairly closely 139 46.3 138 46.0 277 46.2
Not too closely 39 13.0 39 13.0 78 13. 0
Not at all closely 13 4.3 12 4.0 25 4.2
Don’t know/Refused 1 0.3 1 0.3 2 0.3
Total 300 100.0 300 100.0 600 100.0

 

X2(3, N= 598) = o.oe,p = .996, V= .01

Pertaining to this case specifically, Question 13 asked “Where would you say that most of your
information about this incident has come from ? ” The results are in Table 18. There were no
statistically significant differences in the sources of case related information between Rochester
and Buffalo.

Table 18: Source of Case Information (Question 13)

 

 

Rochester Buffalo Tota/

Responses N % N % N %

Newspapers 36 19.0 10 13.3 46 17.4
Raciio 16 8.5 5 6.7 21 8.0
Te|evision 98 51 .9 34 45.3 132 50. 0
lnternet 11 5.8 3 4,0 14 5.3
Other media 4 2.1 3 4.0 7 2. 7
Word of mouth 9 4.8 7 9.3 16 6.1
Other 7 3.7 9 12.0 16 6.1
Don’t know/Refused 8 4.2 4 5.3 12 4. 5
Total 189 100.0 75 100.0 264 100.0

 

Xz(e, N= 252) = i0.73, p = .097, V: .21

Question 14 asked “How closely would you say you have followed the media surrounding this
incident?” There were statistically significant differences between Rochester and Buffalo (see
Table 19). Among those who expressed some familiarity with the case, respondents in Rochester
were more likely to be following the case than respondents from Buffalo.

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Table 19: Follow the News of this Case (Question 14)

 

 

 

Rochester Buffalo Tota/

Responses N % N % N %

Very closely 14 7.4 1 1.3 15 5. 7
Somewhat closely 40 21 .2 3 4.0 43 16.3
Not that closely 63 33.3 19 25.3 82 31 .1
Not closely at ali 69 36.5 51 68,0 120 45. 5
Don’t know/Refused 3 1.6 1 1.3 4 1. 5
Tota/ 189 100.0 75 100.0 264 100.0

 

XZ(B, N= 260) = 25.99,p < .001, V= .32
Social Distance

The instrument assessed social distance in a number of ways. F or those that recalled the incident,
we asked them Question 15, “After the incident occurred, were you or someone you know
a]fected by law enforcement activity_such as the Xerox Campus lockdown or roadblocks_
related to the search for a suspect?” The results are presented in Table 20. Respondents from
Rochester were more likely to report that they or someone they know was affected by the
incident than respondents from Buffalo.

Table 20: Respondents Affected by Search (Question 15)

 

 

Rochester Buffalo Tota/
Responses N % N % N %
Yes, i Was affected 12 6.3 0 0.0 12 4. 5
Yes, someone l know Was affected 9 4.8 1 1.3 10 3. 8
No 164 86.8 73 97.3 237 89.8
Don’t know/Refused 4 2.1 1 1.3 5 1.9
Total 189 100. 0 75 100. 0 264 100. 0

 

xz(z, N= 259) = 7.07,p = .029, V= .i7

All participants were asked if they are or were an employee of XeroX (Question 17: “Are you
now or have you ever been a full-time, part~time, or contracted employee of Xerox
Corporation ?”). The results are presented in Table 21. More respondents from Rochester than
Buffalo reported that they were an employee of XeroX at some tiine.

Table 21: Respondents Working for Xerox (Question 17)

 

 

 

Rochester Buffalo Total
Responses N % N % N %
Yes 25 8.3 1 0.3 26 4.3
No 275 91.7 298 99.3 573 95.5
Don’t know/Refused 0 0.0 1 0.3 1 0.2
Total 300 100. 0 300 100. 0 600 100. 0

 

xz(l, N= 599) = 23.08,p < .001, V= .20

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Respondents Who answered Question 17 in the affirmative (n = 26) were also asked Question 18,
“Were you an employee of Xerox Corporation in August, 2003 ?” The results are presented in
Table 22, but given the low number of responses, these statistics are likely unreliable and should
be interpreted with caution or not at all.

Table 22: Respondents Working for Xerox in 2003 (Question 18)

 

 

 

Rochester Buffalo Total
Responses N % N % N %
Yes 7 28.0 0 0.0 7 26. 9
No 18 72.0 1 100.0 19 73.1
Don’t know/Refused 0 0.0 0 0.0 0 0.0
Total 25 100. 0 1 100. 0 26 100. 0

 

Xz(i, N= 26) = 0.38,p = .54, V= .12

All respondents were also asked Question 19, “Do you know anyone who has ever been a full-
time, part~time, or contracted employee of Xerox Corporation?” The results are presented in
Table 23. More respondents from Rochester than Buffalo reported that they knew someone who
was an employee of Xerox at some time.

'Table 231 Respondents Knowing Someone Who Worked for Xerox (Question 19)

 

 

 

Rochester Buffalo Total
Responses N % N % N %
Yes 162 54.0 38 12.7 200 33.3
No 133 44.3 262 87.3 395 65.8
Don’t know/Refused 5 1.7 0 0.0 5 0.8
Total 300 100. 0 300 100. 0 600 100. 0

 

xz(i, N= 595)--118.98,p < .001, V= .45.

Respondents who answered Question 19 in the affirmative (n = 200) were also asked Question
20, “Was this person employed by Xerox Corporation in August, 2003 ?” The results are
presented in Table 24. More respondents from Rochester than Buffalo reported that this person
was an employee at XeroX in 2003.

Table 241 Respondents Knowing Someone who Worked for Xerox in 2003 (Question 20)

 

 

 

Rochester Buffalo Total
Responses N % N % N %
Yes 81 50.0 12 31.6 93 46.5
No 39 24.1 14 36.8 53 26. 5
Don’t know/Refused 42 25.9 12 31 .6 54 27.0
Total 162 100.0 38 100.0 200 100.0

 

Xz(i,N= 146) = 4.2i,p= .040, V= .17

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Demographics

We asked number of demographic questions. We present those data below.

Table 25: What is your age, please‘.7

 

 

 

Rochester Buffalo Total

Responses N % N % N %

18-25 44 14.7 45 15.0 89 14.8
26-40 65 21.7 66 22.0 131 21.8
41-60 123 41.0 115 38.3 238 39.7
61~75 46 15.3 55 18.3 101 16.8
76+ 19 6.3 15 5.0 34 5.7
Don’t know/Refused 3 1.0 4 1.3 7 1.2
Total 300 100. 0 300 100.0 600 100. 0

 

Table 26: What is the last grade of formal education you have completed‘?

 

 

 

 

 

 

Rochester Buffalo Total
Responses N % N N %
Less than high school 7 2.3 4 1.3 11 1.8
High school graduate 96 32.0 104 34.7 200 33,3
Some college/vocational school 111 37.0 107 35.7 218 36.3
Coi|ege graduate 43 14.3 45 15.0 88 14.7
Post graduate 41 13.7 35 11.7 76 12.7
Don’t know/Refused 2 0.7 5 1.7 7 1.2
Total 300 100.0 300 100.0 600 100.0
Table 27: What is your race and ethnic background?
Rochester Buffalo Total
Responses N % N % N %
African 2 0.7 1 0.3 3 0.5
African-American, Biack 16 5.3 13 4.3 29 4,8
American indian 1 0.3 1 0.3 2 0.3
Asian 3 1.0 1 0.3 4 0.7
Biack and Hispanic 2 0.7 2 0.7 4 0.7
Caucasian, White 242 80.7 254 84.7 496 82.7
Caucasian and African-
American 2 0.7 0 2 0.3
Caucasian and Hispanic 2 0.7 3 1.0 5 0.8
Hispanic 2 0.7 1 0.3 3 0.5
Other 8 2.7 10 3.3 18 3.0
Don’t know/Refused 20 6.7 14 4.7 34 5.7
Total 300 100.0 300 100.0 600 100.0

 

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Table 28: How frequently do you attend religious services?

 

 

 

 

 

 

 

 

 

 

 

Rochester Buffalo Total
Responses N % N % N %
Never 73 24.3 47 15.7 120 20.0
Once a year or less 44 14.7 39 13.0 83 13.8
A few times a year 58 19.3 67 22.3 125 20.8
A few times a month 40 13.3 42 .14.0 82 13.7
Once a Week 63 21.0 76 25.3 139 23.2
i\/iore than once a week 17 5.7 17 5.7 34 5.7
Don’t know/Refused 5 1.7 12 4.0 17 2.8
Total 300 100.0 300 100.0 600 100.0
Table 29: What is your income level?
Rochester Buffalo Total
Responses N % N % N %
$0 ~ $10,000 12 4.0 14 4.7 26 4.3
$10,000 - $25,000 30 10.0 21 7.0 51 8.5
$25,000 ~ $50,000 60 20.0 60 20.0 120 20.0
$50,000 ~ $100,000 81 27.0 101 33.7 182 30.3
Over $100,000 49 16.3 42 14.0 91 15.2
Don’t know/Refused 68 22.7 62 20.7 130 21 .7
Total 300 100.0 300 100.0 600 100.0
Table 30: What gender do you identify with?
Rochester Buffalo Total
Responses N % N % N %
Femaie 142 47.3 144 48.0 286 47.7
l\/lale 158 52.7 153 51 .O 311 51 .8
Other/Refused 0 0.0 3 1.0 3 0.5
Total 300 100.0 300 100.0 600 100.0

 

Possible Dismissals

To assess the potential for differential impact of voir dire in the two jurisdictions, we created
four variables to represent categories of people who might be dismissed as a potential juror
because of their attitudes or relationships with the parties in the case. The first variable is Social
Closeness and it is defined as individuals who responded affirmatively to Question 15, 17, 18, 19
or 20. The second variable is Jury Bias and it is defined as individuals who indicated some

potential juror bias on Questions 10 (i.e., “definitely guilty”, “probably guilty”, “probably not

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guilty”, or “definitely not guilty”), Question 11, or Question 12 (i.e., “probably no”, “definitely
no”). The third variable is Party Bias and is defined as individuals who have already formed
some opinion about either Richard Wilbern or Xerox Corporation indicated by Question 8 or 16
(i.e., “very positive”, “somewhat positive”, “somewhat negative”, “very negative”). The last
variable is called 0verall Bias and indicates individuals who were classified as having Social

Closeness, Jury Bias, or Party Bias.

We first analyzed whether there would be more possible dismissals from Rochester or Buffalo.
The results for each dismissal variable are presented in Table 31. In each case, dismissals are
more likely from Rochester than Buffalo.

Table 31: Possible Dismissals by Area.

 

 

 

Rochester Buffalo Total
N % N % N % X2 p V
Social Closeness 120.08 .00 .45
No 135 45.0 262 87.3 397 66.2
Yes 165 55.0 38 12.7 203 33.8
Total 300 100.0 300 100.0 600 100.0
Jury Bias 32.43 .00 .23
No 221 73.7 274 91.3 495 82.5
Yes 79 26.3 26 8.7 105 17.5
Total 300 100.0 300 100.0 600 100.0
Party Bias
No 126 42.0 201 67.0 327 54.5 37.81 .00 .25
Yes 174 58.0 99 33.0 273 45.5
Total 300 100.0 300 100.0 600 100.0
Total Bias ` 84.78 .OO .38
No 62 20.7 172 57.3 234 39.0
Yes 238 79.3 128 42.7 366 61.0

Total 300 100.0 300 100.0 600 100.0

 

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EXHIBIT C

 

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MARGARET BULL KOVERA

Department of Psychology
John lay College of Criminal Justice
City University of New York
524 W. 59th sr.

New York, NY 10019
(212) 484-1112

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Education

Ph.D. University of Minnesota (1994)
Major Program: Social Psychology; Supporting Program: Statistics

B.A. Northwestern University (1988), with Departrnental Honors
Major: Psychology

Academic Positions

Presidential Scholar and Professor of Psychology, John Jay College of Criminal Justice, CUNY
(2015-present)

Professor of Psychology, John Jay College of Criminal Justice, CUNY (2004-2015)

Professor, Criminal Justice Ph.D. Program, Graduate Center, CUNY (2005-present)

Professor, Social Psychology PhD Program, Graduate Center, CUNY, (2008-present)

Professor, Psychology and Law Ph.D. Prograrn, Graduate Center, CUNY (2004-present)

Assistant to Associate Professor of Psychology, Florida International University (1995~2005)

Visiting Assistant Professor, Reed College (1993-1995)

Other Professional Appointments and Activity

2012 ~ 2017 Editor-in~Chief, Law and Human Behavior

2009 - 2012 Secretary/I`reasurer of the Society for the Psychological Study of Social Issues
(Division 41, American Psychological Association)

2006 - 2009 President Elect, President, and Past President of the American Psychology-Law-
Society (Division 41, American Psychological Association)

2006 ~ Consultant and Expert Witness in U.S. State (CT, DC, IA, IL, IN, MA, MD,
NY), U.S. Federal (hM, NY, VA) and Canadian Courts

2000-2006 Treasurer of the American Psychology-Law- Society (Division 41, American
Psychological Association)

Honors and Awards
Distinguished Lecturer, National Science Foundation Distinguished Lecture Series (2017-2018)

Distinguished Service Award, Society‘for the Psychological Study of Social Issues (2014)
Distinguished Teaching Prize, John J ay College - CUNY (2010)

November 12, 2017

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John J ay College Faculty Scholarly Excellence Award (2006-2007; 2007-2008; 2008-2009;
2009-2010; 2010-2011; 2012-2013)

Fellow, Association for Psychological Science (2009)

Fellow, Society for Experirnental Social Psychology (2009)

Fellow, Society for the Psychological Study of Social Issues (2008)

Ursa Maj or Award for Outstanding Professional Contributions, Alpha Phi Fraternity (2008)

Fellow, American Psychological Association (2005)

Fellow, American Psychology Law-Society (2005)

Outstanding Teaching and Mentoring in Psychology and Law (American Psychology-Law

Society, 2004)

Saleem Shah Early Career Award for Excellence and Achievement in Research (2000)
Awarded by the American Academy of Forensic Psychology and the American
Psychology-Law Society (Division 41 of the American Psychological Association)

Teaching Incentive Program Award, Florida International University (1999), `

a university-Wide teaching award

American Psychology-Law Society Dissertation Award, First Place (1994)

University of Minnesota Graduate School Doctoral Dissertation Fellowship (1992-1993)

University of Minnesota Departrnental Fellowship (1988-1989)

Departrnental Honors in Psychology, Northwestern University (1988)

National Merit Scholarship, Northwestern University (1984-1985)

 

 

 

 

 

RESEARCH
Grant Summary Data
Type Nurnber Amount
Federal grants 16 $ 2,054,409
Other external grants 2 $ 4,000
Internal grants 2 $ 12,47 6
Total Funded 20 $ 2,070,885

 

 

 

 

 

Research Grants

National Science Foundation SES# 1655265 (2017-2020)

Title: The Role of Phenotypic Bias in Eyewitness Identification Accuracy
Amount: $306,932

National Science Foundation SES# 1728938 (2017-2018)
Title: Extra-Legal Information Transfer during Eyewitness Identi]ication
Co-PI: Andrew Evelo
Amount: $20,000

Society for the Psychological Study of Social Issues (2016-2017)
Title: Testing the Ej§’icacy of Interventions to Decrease Racial Bias in Jury Selection
Co-PI: Karima Modjadidi
Amount: $2,000

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National Science Foundation SES# 1323677 (2013-2016)
Title: The Impact of Jury Diversity on Deliberation Quality
Co-PI: Amanda Nicholson
Amount: $19,304

National Science Foundation SES# 1155352 (2012~2014)
Title: Conference on the Future of Jury Research
Amount: $36,890

National Science Foundation SES# 1155251 (2012-2014)
Title: Evaluating the Inj?uence of Daubert's Cross-Examination Safeguard on Jurors',
Attorneys’, and Judges' Judgments about Scientific Evidence
Co-PI: Jacqueline L. Austin
Amount: $14,934

National Science Foundation SES# 1155250 (2012- 2014)
Title: Jua’ges' and Attorneys']udgments of the Extent to Which Jurors Have Been
Prejudiced by Pretrial Publicity
Co-PI: David M. Zimmerman
Amount: $14,550

National Science Foundation SES# 1023796 (2010~2013)
Title: Concurrent Expert Testimony as a Potential Remedy for Expert Witness

Partisanship
Amount: $260,000

National Science Foundation SES# 0922314 (2009-2013)
Title: Moderators of Lineup Administrator Expectancy Ejfects on Eyewitness

Identijication Accuracy
Amount: $367,988

National Science Foundation SES# 0921408 (2009-2010)
Title: An Investigation of the Psychological Processes Involved in Juror Rehabilitation
Co-PI: Caroline B. Crocker
Amount: $12,000

National Science Foundation SES# 0921065 (2009-2010)
Title: Psychological Mechanisms Underlying Racially~Biased Peremptory Challenges
Co=PI: Julia Busso Kennard
Amount: $1 1,275

National Science Foundation SES# 0752638 (2008-2009)
Title: Does Cross-Examination Uncover Deception?
Co-PI: Sarah M. Greathouse
Amount: $10,200

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National Science Foundation SES# 0520617 (2006-2009)
Title: Psychological Mechanisms Underlying the Biasing Effects of Voir Dire
Amount: $365,000 '

National Science Foundation SBE# 0453197 (2005~2006)
Title: Educating the jury about junk science through an opposing expert witness
Co-PI: Lora M. Levett
Amount: $12,820

National Science Foundation SBE# 0136652 (2002-2006)
Title: When Juveniles Are Tried as Adults.' The Ejfects of Voir Dire on Jury
Composition and Juror Decisions.
Amount: $300,062 '

Society for the Psychological Study of Social Issues (2001)
Title: ` Lay versus Expert Knowledge of the Consequences of Sexual Harassment.
Pls: Jane Goodman-Delahunty and Margaret Bull Kovera
Amount: $2,000

National Science Foundation SBE# 9986240 (2000-2003)
Title: Investigator Bias in Identification Procedures.' Mechanisms and Safeguards.
Co-PI: Brian Cutler
Amount: $191,682

National Science Foundation SBE# 9711225 (1997-2000)
Title: Reasoning about Scientific Evidence: The E]fects of Heuristic Cues, Evidence
Quality, and Reasoning Ability.
Amount: $110,772

Florida International University Foundation (1997)
Title: Cognitive, Social, and Developmental Factors in Suggestibility.' A Meta-Analysis
Amount: $10,978

University of Minnesota Doctoral Dissertation Special Grant (1992)
Title: T he Media and Allegations of Sexual Misconduct.' T he Effect of Agenda-Setting
on Appraisals of Credibility
Amount: $1,498

 

 

 

 

 

 

 

 

 

Publication Suinmary Data
Type Number
Books 4
Articles 39
Book Chapters ` 33
Other Publications 28
Conference Presentations 163
Manuscripts under Review/ Contract 3

 

 

 

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Book (students in bold)

Kovera, M. B. (Ed). (2017). The psychology of juries. Washington, DC: American
Psychological Association.

Kovera, M. B. & Cutler, B. L. (2013). Jury selection New York: Oxford University Press.

Cutler, B. L., & Kovera, M. B. (2010). Evaluating eyewitness identification New York: Oxford
University Press.

Bottoms, B. L., Kovera, M. B., & McAuliff, B. D. (Eds.) (2002). Children, social science, and
the law. New York: Cambridge University Press.

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Zimmerman, D. M., Chorn, J. A., Rhead, L. M., Evelo, A. J., & Kovera, M. B. (in press).
Memory strength and lineup presentation moderate effects of administrator influence on
mistaken identifications Journal of Experimental Psychology.' Applied.

Kovera, M. B., & Evelo, A. J. (2017). The case for double-blind lineup administration
Psychology, Public Policy and Law, 23, 421-437. doi: 10.1037/law0000139

Austin, J. L., & Kovera, M. B. (2015). Cross examination educates jurors about missing control
groups in scientific evidence. Psychology, Public Policy, and Law, 21, 252-264. doi:
10.1037/1aw0000049

Jones, A. M., & Kovera, M. B. (2015). A demonstrative helps opposing expert testimony
sensitize jurors to the reliability of scientific evidence. Journal of Forensic Psychology
Practice, 15, 401-422.

Rhead, L. M., Rodriguez, D. N., Korobeynikov, V., Yip, J. H., & Kovera, M. B. (2015). The
effects of lineup administrator influence and mortality salience on witness identification
accuracy. Journal of F orensic Psychology Practice, ]5, 248-274. doi:
10.1080/15228932.2015.1041362

Otis, C. C., Greathouse, S. M., Kennard, J. B., & Kovera, M. B. (2014). Hypothesis-testing in
attomey-conducted voir dire. Law and Human Behavior, 38, 392-404. doi:
10.1037/1hb0000092

McAuliff, B.D., & Kovera, M.B. (2012). Do jurors get what they expect? Traditional versus
alternative forms of children’s testimony. Psychology, Crime and Law, 18, 27 -47. doi:
10.1080/1068316X.2011.613391.

Reprinted B. D. McAuliff & B. H. Bornstein (Eds.) (2015). Beliefs and expectancies in
legal decision making. New York: Routledge.

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Page 6

Greathouse, S. M., Sothmann, F. C., Levett, L. M., & Kovera, M. B. (2011). The potentially
biasing effects of voir dire in juvenile Waiver cases. Law and Human Behavior, 35, 427-439.
doi: 10.1007/s10979-010-9247-z

Cutler, B. L., & Kovera, M. B. (2011). Expert psychological testimony. Current Directions in
Psychological Science, 20, 53-57. doi: 10.1177/0963721410388802

Reprinted in C. R. Bartol & A. M. Bartol (Eds.) (2016). Current Perspectives in Forensic
Psychology and Criminal Behavior. New York: Sage.

Cass, S. A., Levett, L. M., & Kovera, M. B. (2010). The effects of harassment severity and
organizational behavior on damage awards. Behavioral Sciences and the Law, 28, 303-321.
doi: 10.1002/bsl.886.

Crocker, C. B., & Kovera, M. B. (2010). The effects of rehabilitative voir dire on juror bias and
decision making Law and Human Behavior, 34, 212-226. doi: 10.1007/510979~009-9193-9

Levett, L. M., & Kovera, M. B. (2009). Psychological mediators of the effects of opposing
expert testimony on juror decisions Psychology, Public Policy, and Law, 15, 124-148.

McAuliff, B. D., Kovera, M. B., & Nunez, G. (2009). Can jurors recognize missing control
groups, confounds, and experimenter bias in psychological science? Law and Human
Behavior, 33, 247-257.

Greathouse, S. M., & Kovera, M. B. (2009). lnstruction bias and lineup presentation moderate
the effects of administrator knowledge on eyewitness identification Law and Human
Behavior, 33, 70-82.

Levett, L. M., & Kovera, M. B. (2008). The effectiveness of educating jurors about unreliable
expert evidence using an opposing witness Law and Human Behavior, 32, 363-374.

McAuliff, B. D., & Kovera, M. B. (2008). Juror Need for Cognition and sensitivity to
methodological flaws in expert evidence Journal of Applied Social Psychology, 38, 385-
408.

Cutler, B. L., & Kovera, M. B. (2008). Introduction to commentaries on the Illinois field study
of lineup reforms. Law and Human Behavior, 32, 1-2.

McAuliff, B. D., & Kovera, M. B. (2007). Estimating the effects of misleading information on
witness accuracy: Can experts tell jurors something they don’t already know? Applied
Cognitive Psychology, 21, 849-870.

Mitchell, T., & Kovera, M. B. (2006). The Americans with Disabilities Act: What is a
reasonable accommodation? Law and Human Behavior, 30, 733-748.

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Russano, M. B., Dickinson, J. J., Greathouse, S. M., & Kovera, M. B. (2006). “Why don’t
you take another look at number three?” Investigator knowledge and its effects on

eyewitness confidence and identification decisions Cardozo Public Law, Policy, and Ethics
Journal, 4, 355-379.

Doyle, J. M., Penrod, S., Kovera, M. B., & Dysart, J. (2006). The Street, The Lab, The
Courtroom, The Meeting Room. Public Interest Law Reporter, ]1, 13-46.

Kovera, M. B. (2004). Psychology, law, and the workplace: An overview and introduction to
the special issue. Law and Human Behavior, 28, 1'-7.

Collett, M. E., & Kovera, M. B. (2003). The effects of British and American trial procedures on
the quality of juror decision making. Law and Human Behavior, 27, 403-422.

Reprinted in Roesch, R., & Gagnon, N. (Eds.) (2007). Psychology and law: Criminal and
civil perspectives (pp. 257-276). Hampshire, UK: Ashgate.

Kovera, M. B., & Cass, S. A. (2002). Compelled mental health examinations liability decisions

and damage awards in sexual harassment cases: Issues for jury research Psychology, Public
Policy, and Law, 8, 96-114.

Kovera, M. B., Russano, M. B., & McAuliff, B. D. (2002). Assessment of the commonsense
psychology underlying Daubert: Legal decision makers’ abilities to evaluate expert evidence
in hostile work environment cases Psychology, Public Policy, and Law, 8, 180-200.

Reprinted in Roesch, R., & Gagnon, N. (Eds.) (2007). Psychology and law.' Criminal and
civil perspectives (pp. 397-420). Hampshire, UK: Ashgate.

Kovera, M. B. (2002). The effects of general pretrial publicity on juror decisions An
examination of moderators and mediating mechanisms Law and Human Behavior, 26, 43-
72.

Kovera, M. B., & McAuliff. B. D. (2000). The effects of peer review and evidence quality on
judge evaluations of psychological science: Are judges effective gatekeepers? Journal of
Applied Psychology, 85, 574-586.

Phillips, M., McAuliff, B. D., Kovera, M. B., & Cutler, B. L. (1999). Double-blind photoarray
administration as a safeguard against investigator bias Journal of Applied Psychology, 84,
940-95 1 .

Kovera, M. B., McAuliff, B. D., & Hebert, K. S. (1999). Reasoning about scientific evidence:
Effects of juror gender and evidence quality on juror decisions in a hostile work environment
case. Journal of Applied Psychology, 84, 362~375.

Kovera, M. B., & Borgida, E. (1997). Expert testimony in child sexual abuse trials: The
admissibility of psychological science. Applied Cognitive Psychology, 11, SlOS-S129.

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Kovera, M. B., Penrod, S. D., Pappas, C., & Thill, D. L. (1997). Identification of computer-
generated facial composites. Journal of Applied Psychology, 82, 23 5-246.

Kovera, M. B., Gresham, A. W., Borgida, E., Gray, E., & Regan, P. C. (1997). Does expert
testimony inform or influence juror decision-making? A social cognitive analysis Journal
of Applied Psychology, 82, 178-191.

Gonzales, M. H., Kovera, M. B., Sullivan, J. L., & Chanley, V. (1995). Private reactions to
public transgressions Predictors of evaluative responses to allegations of political
misconduct Personality and Social Psychology Bulletin, 21, 136-148.

Kovera, M. B., Levy, R. J., Borgida, E., & Penrod, S. D. (1994). Expert witnesses in child
sexual abuse cases: Effects of expert testimony and cross-examination Law and Human
Behavior, 18, 653-674.

Chanley, V., Sullivan, J. L., Gonzales, M. H., & Kovera, M. B. (1994). Lust and avarice in
politics: Damage-control for four politicians accused of wrongdoing '(or, politics as usual).
American Politics Quarterly, 22, 297-333.

Kovera, M. B, Borgida, E., Gresham, A. W., Swim, J., & Gray, E. (1993). Do child sexual abuse
experts hold pro-child beliefs? A survey of the International Society for Traumatic Stress
Studies. Journal of Traumatic Stress, 6, 383-404.

Kovera, M. B., Park, R. C., & Penrod, S. (1992). Jurors’ perceptions of eyewitness and hearsay
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Borgida, E., Gresham, A. W., Swim, J., Bull (Kovera), M. A. & Gray, E. (1989). Expert
testimony in child sexual abuse cases: An empirical investigation of partisan orientation
Family Law Quarterly, 23, 432-445.

Penrod, S., Bull (Kovera), M. A., & Lengnick, S. (1989). Children as observers and witnesses:
The empirical data. Family Law Quarterly, 23, 411-431.

Book Chapters (students in bold)

Kassin, S., & Kovera, M. B. (in press). Forensic personality and social psychology. In K. Deaux
& M. Snyder (Eds.), Oxford Handbook of Personality and Social Psychology (2nd
Edition). New York: Oxford University Press.

Kovera, M. B. (2017). Introduction: An overview. In M. B. Kovera (Ed.), The psychology of
juries (pp. 3-8). Washington, DC: American Psychological Association.

Kovera, M. B. (2017). Conclusion: The future of jury research In M. B. Kovera (Ed.), The
psychology of juries (pp. 287-297). Washington, DC: American Psychological Association.

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M. B. Kovera
Page 9

Kovera, M. B. (2017). Applying social psychology to law. In R. Baumeister and B. Bushman
(Eds), Social psychology and human nature (4 edition). Belmont, CA: Wadsworth.

Kovera, M. B., & Austin, J. L. (2016). Juror bias: Moving from assessment and prediction to a
new generation of jury selection research In C. Willis-Esqueda & B. H. Bornstein (Eds.),
The witness stand and Lawrence S. Wrightsman, Jr. (pp. 75-94). New York: Springer.

Kovera, M. B., & Levett, L. M. (2015). Jury decision making In B. L. Cutler & P. A. Zapf
(Eds.), APA Handbook of Forensic Psychology, Vol. 2.' Criminal investigation adjudication
and sentencing outcomes (pp. 271-311). Washington, DC: American Psychological
Association.

Kovera, M. B. (2014). Applying social psychology to law. In R. Baumeister and B. Bushman
(Eds), Social psychology and human nature (3rd edition, pp. D1-D20). Belmont, CA:
Wadsworth.

Austin, J. L., Zimmerman, D. M., Rhead, L., & Kovera, M. B. (2013). Double-blind lineup
administration ln B. L. Cutler (Ed.), Reform of eyewitness identification procedures (pp.
139-160). Washington, DC: The American Psychological Association.

Kovera, M. B. (2012). Voir dire and jury selection In R.K. Otto (Ed.), Comprehensive
Handbook of Psychology, Volume 11 : Forensic Psychology (2nd ed., pp. 630-647). New
York: John Wiley & Sons.

Cutler, B. L., & Kovera, M. B. (2012). Evaluation for eyewitness evidence. ln R. Roesch & P.
A. Zapf (Eds.), Forensic Assessments in Criminal and Civil Law: A Handbook for Lawyers
(pp. 1 18-132). New York: 0xford University Press.

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Zapf (Eds.), Forensic Assessments in Criminal and Civil Law: A Handbook for Lawyers (pp.
88-102). New York: Oxford University Press.

Kassin, S., & Kovera, M. B. (2012)'. Forensic personality and social psychology. In K. Deaux &
M. Snyder (Eds.), 0xford Handbook of Personality and Social Psychology (pp. 753-
7 80). New York: Oxford University Press.

Zimmerman, D., Austin, J., & Kovera, M. B. (2012). Suggestive eyewitness identification
procedures ln B. L. Cutler (Ed.), Conviction of the innocent: Lessonsfrom psychological
research (pp. 125-148). Washington, DC: American Psychological Association.

Penrod, S. D., Kovera, M. B., & Groscup, J. L. (2011). Jury research methods ln B. Rosenfeld
and S. Penrod (Eds.), Research methods in forensic psychology (pp. 191-214). New York:
Wiley.

Crocker, C., & Kovera, M. B. (2011). Systematic jury selection In R. L. Wiener and B. H.
Bornstein (Eds.), Handbook of trial consulting (pp. 13-31). New York: Springer.

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Kovera, M. B. (2011). Applying social psychology to law. ln R. Baumeister and B. Bushman
(Eds), Social psychology and human nature (2nd edition). Belmont, CA: Wadsworth.

Austin, J., & Kovera, M. B. (2010). Expert testimony in child sexual abuse cases ln M. Paludi
& F. Denmark (Eds.), Victims of sexual assault and abuse: Resources and responses for
individuals and families, Vol. 2 (101-120). Westport, CT: Praeger.

Kovera, M. B. & Borgida, E. (2010). Social psychology and law. In S. T. Fiske, D. Gilbert, &
G. Lindzey (Eds.), Handbook of Social Psychology, Fifth Edition (pp. 1343-1385). Oxford
University Press

Penrod, S. & Kovera, M. B. (2009). Recent developments in North American identification
science and practice. ln R. Bull, T. Valentine, & T. Williamson (Eds.), Handbook of
psychology of investigative interviewing.' Current developments and future directions (pp.
257-284). Chichester, UK: John Wiley & Sons.

Greathouse, S. M., Levett, L. M., & Kovera, M. B. (2009). Sexual harassment Antecedents,
consequences and juror decisions In D. Krauss & J. Lieberman (Eds.), Psychological
expertise in court (Vol. 2, pp. 151-174). Surrey, England: Ashgate Publishing.

McAuliff, B. D., Kovera, M. B., & Gilstrap, L. L. (2009). An updated review of the effects of
system and estimath variables on child witness accuracy in custody cases In R. Galatzer-
Levy, L. Kraus, & J. Galatzer-Levy (Eds.), The scientific basis of child custody decisions (2nd
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Kovera, M. B., & Greathouse, S. M. (2008). Pretrial publicity: Effects, remedies, and judicial
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hate crime perpetration and litigation In R. L. Wiener, B. Bornstein, R. Schopp, & S.
Willborn (Eds.), Social consciousness in legal decision making.' Psychological perspectives
(pp. 227-246). New York: Springer.

Levett, L., Danielsen, E., & Kovera, M. B., Cutler, B. L. (2005). Juror decision making ln N.
Brewer & K. Williams (Eds.), Psychology and law.' An empirical perspective (pp. 365-406).
New York: Guilford.

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policy: An introduction to the issues In B.L. Bottoms, M. B. Kovera, & B. D. McAuliff
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system and estimator variables on the accuracy of their reports ln R. Galatzer-Levy & L.
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Daubert. In S. J. Ceci & H. Hembrooke (Eds.), Expert witnesses in child abuse cases: What
can and should be said in court (p. 185-215). Washington, DC: American Psychological
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Kovera, M. B. (2016). Law and psychology. In H. L. Miller (Ed.), The SAGE encyclopedia of
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case. APA Monitor, 31 (10), 77.

Russano, M. & Kovera, M. B. (2000, March). Supreme Court revisits Miranda warnings APA
Monitor, 31 (3), 77.

McAuliff, B. D., & Kovera, M. B. (1999, May). Murder case may alter hearsay rules APA
Monitor, 30(5), 44.

McAuliff, B. D., & Kovera, M. B. (1998, November). Reviewing nonscientific expert evidence
APA Monitor, 29(10), 43.

Phillips, M. R., & Kovera, M. B. (1997, November). Instructions on death. APA Monitor,
28(10), 43.

McAuliff, B. D., & Kovera, M. B. (1997, May). Child-abuse test ruled inadmissible. APA
Monitor, 28(5), 25.

Kovera, M. B., & McAuliff, B. D. (1996, November). Same-sex cases pose legal problems
APA Monitor, 27(10), 24.

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Manuscripts under Review or Contract

Chorn, J. A., & Kovera, M. B. (revise and resubmit). Daubert’s cross-examination safeguard on
judges’, attorneys’ , and jurors’ judgments about scientific evidence

Modj adidi, K., & Kovera, M. B. (revise and resubmit). Viewing videotaped identification
procedure increases jurors’ sensitivity to administrator bias

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Vitriol, J. A., & Kovera, M. B. (revise and resubmit). Death qualification may not increase
convictions despite increasing pretrial presumption of guilt.

invited Presentations at Professional Meetings

Kovera, M. B., & Evelo, A. J. (2016, May). Double-blind lineup administration: The role of
social interaction in eyewitness identification Paper presented at Appli’ed Cognition and the
Cognitive Interview.' A conference in honor of Ronald P. Fisher, North Miami, FL.

Kovera, M. B. (2015, May). Experimentation in jury reserch. In A. C. Offit (Chair), Lay
participation research methods Paper presented at the meetings of the Law and Society
Association, Seattle, WA._

Kovera, M. B. (2015, April). A dual-process model of persuasion framework for thinking about
expert witness effectiveness In D. J. Aron (Chair), The science of persuasion Practical
insights from research on expert witness ejfectiveness and jury decision making Paper
presented at the American Bar Association Section on Litigation Annual Conference, New
Orleans, LA.

Kovera, M. B. (2014, September). Evaluating the validity and importance of research on lay
participation Invited keynote address presented at the Third International Conference on
Empirical Studies of Judicial Systems: Citizen Participation around the World, Taipei,
Taiwan.

Kovera, M. B. (2013, June). Communicating the science: Expert testimony Invited address
presented at the SPSSI Policy Workshop, Washington, DC.

Kovera, M. B. (2013, May) Psychological science Helping law enforcement improve
eyewitness reliability Invited presentation at the 19th annual Coalition for National Science
Funding exhibit on Capitol Hill, Washington, DC.

Kovera, M. B. (2012, August). Legal decision making about scientific evidence Testing
behavioral assumptions in the law. Invited address presented at the 120th Annual Convention
of the American Psychological Association, Orlando, FL.

Kovera, M. B. (2011, October). Double~blind lineup administration.' Research and policy.
Keynote address presented at the lst China International Conference on Psychology and
Law, Beijing China.

Kovera, M. B. (2011, September). Legal decision making about scientific evidence Keynote
address presented at the 8th meeting of the Nordic Network for Research on Psychology and
Law, Oslo, Norway.

 

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Kovera, M. B. (2010, March). Biasea’ hypothesis testing and behavioral confirmation injury
selection procedures Paper presented at the meeting of the Eastem Psychological
Association, Brooklyn, NY.

Kovera, M. B. (2009, April). The psychology of voir dire: The e]j”ects of jury selection on jurors ’
decisions Keynote address presented at the Behavioral Sciences of the North Conference,
University of Alaska at Anchorage.

Kovera, M. B. (2008, October). ldentifying juror bias: Moving from assessment and prediction
to a new generation of jury selection research, Paper presented at Perspectives on
Psychology and the Law: Celebrating the Contributions of Lawrence S. Wrightsman, Jr.
University of Kansas, Lawrence, KS.

Kovera, M. B. (2008, August). Choosing what is right versus what is easy: A reflection on
methodology in jury simulations and Law and Human Behavior, Presidential address
presented at the 116th Annual Convention of the American Psychological Association,
Boston, MA.

Kovera, M. B., & Kucharski, L. T. (2006, July). The expert, the lawyer, and the jury. Paper
presented at the Short Course for ProsecutingAttorneys and Defense Law_yers in Criminal
Cases. Northwestern University Law School, Chicago, IL.

Kovera, M. B. (2004, September). Composites. Paper presented at the conference Reforming
eyewitness identification Convicting the guilty, protecting the innocent Cardozo Law
School, New York, NY.

Kovera, M. B., & Greathouse, S. M. (2004, September). The effects of lineup administrator
knowledge on eyewitness identification accuracy. Paper presented at the conference

Reforming eyewitness identifications Convicting the guilty, protecting the innocent Cardozo
Law School, New York, NY.

Kovera, M. B. (2000, August). Legal decision-makers ’ evaluations of valid and flawed
psychological science Saleem Shah Award address presented at the 108th Annual
Convention of the American Psychological Association, Washington, DC.

Kovera, M. B. (2000, August). Law, psychology, and gender in the workplace: Compelled
mental health evaluations Roundtable discussion held at the 108th Annual Convention of the
American Psychological Association, Washington, DC.

Kovera, M. B. (1997, November). Jury persuasion strategies for expert witnesses Invited
address at the 14th annual meeting of the National Forensic Center, Tampa, FL.

Kovera, M. B. (1996, April). Invited participant in Families and law.' Changing values, rights
and obligations Conference sponsored by the American Bar Association Commission on
College and University Legal Studies, Denver, CO.

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Kovera, M. B. (1996, March). The media and allegations of sexual misconduct The ejfects of
agenda setting on credibility appraisals Paper presented at the biennial meeting of the
American Psychology-Law Society, Hilton Head, SC.

Kovera, M. B. (1993, October). Moderators of media influence on juror-decision~making.
Paper presented at the meetings of the Portland Cognitive Science Consortium, Portland,
Oregon.

Conference Presentations

Evelo, A. J., & Kovera, M. B. (2017, March). Turning filler identifications into suspect
identifications Filler-to-suspect shifts in single-blind lineups Paper presented at the meeting
of the American Psychology-Law Society, Seattle, WA.

Close, M. J., & Kovera, M. B. (2017, March). The impact of anti-bias jury instructions on
category- and feature-based racial bias Paper presented at the meeting of the American
Psychology-Law Society, Seattle, WA.

Bergold, A. N., & Kovera, M. B. (2017, March). Wealth/power diversity: The impact on the
quality of jury deliberations Paper presented at the meeting of the American Psychology-
Law Society, Seattle, WA.

Evelo, A. J., & Kovera, M. B. (2017, January). Attributional errors in the perception of juvenile
offenders Paper presented at the meeting of the Society for Personality and Social
Psychology, San Antonio, TX.

Bergold, A. N., & Kovera, M. B. (2016, March). Diversity ’s impact on the quality of jury
deliberations Paper presented at the meeting of the American Psychology-Law Society,
Atlanta, GA.

Despodova, N., & Kovera, M. B. (2016, March). Jurors ’ ability to detect deception through
cross-examination and judicial instructions Paper presented at the meeting of the American
Psychology-Law Society, Atlanta, GA.

Evelo, A. J., & Kovera, M. B. (2016, March). No evidence of publication bias: A p-curve
analysis of sequential and simultaneous line-ups Paper presented at the meeting of the
American Psychology-Law Society, Atlanta, GA.

Austin, J. L., & Kovera, M. B. (2015, August). Cross-examination educates jurors about missing
control groups in scientific evidence Paper presented at the meeting of the European
Association of Psychology and Law, Nuremberg, Germany.

Evelo, A. J., & Kovera, M. B. (2015, May). Investigating publication bias in the sequential
lineup advantage: A p-curve analysis Paper presented at the meeting of the Association for
Psychological Science, New York, NY.

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Austin, J. L., & Kovera, M. B. (2015, March). Evaluating judges ’ abilities to evaluate scientific
reliability and validity Paper presented at the meeting of the American Psychology-Law
Society, San Diego, CA.

Despodova, N., Perillo, J. T., Clatch, L., Teitcher, J. & Kovera, M. B. (2015, March). Ejfects of
adversarial allegiance influence on the quality of reasoning displayed in expert evaluations
Paper presented at the meeting of the American Psychology-Law Society, San Diego, CA.

Evelo, A. J., & Kovera, M. B. (2015, March). Exploring the ejfects of lineup administrators ’
knowledge using the WITNESS model. Paper presented at the meeting of the American
Psychology-Law Society, San Diego, CA.

Modjadidi, K., & Kovera, M. B. (2015, March). Jurors ’ sensitivity to bias in single blind
lineups Paper presented at the meeting of the American Psychology-Law Society, San
Diego, CA.

Perillo, J. T., & Kovera, M. B. (2015, March). Attorney preferences for experts under
adversarial and concurrent expert testimony conditions Paper presented at the meeting of
the American Psychology-Law Society, San Diego, CA.

Zimmerman, D. M., Wilson, C., Lepper, H., Clodfelter, B., & Kovera, M. B. (2015, March). The
e]fects of venireperson motivation judicial instruction and PTP exposure on attorneys ’ and
judges ’ reports of venireperson biases Paper presented at the meeting of the American
Psychology-Law Society, San Diego, CA.

Evelo, A. J., Kovera, M. B., & Greathouse, S. M. (2014, August). Signal detection and ROC
curve analysis of administrator knowledge effects on eyewitness identifications Paper
presented at the meeting of the American Psychological Association, Washington, DC.

Yarbrough, A. M., Perillo, J. T., & Kovera, M. B. (2014, June). ’_l'he impact of concurrent vs
adversarial expert testimony on jurors ’ decisions Paper presented at the meeting of the
European Association of Psychology and Law, St. Petersburg, Russia.

Nicholson, A. S., & Kovera, M. B. (2014, June). When guilt is in the eye of the beholder: The
role of stereotypically African features in Witness identification decisions In Y. Granot
(Chair), In the eyes of the law.' Visual processes in legal decision-making Symposium
presented at the meeting of the International Society of Justice Research, New York, NY.

Austin, J. L., & Kovera, M. B. (2014, March). Evaluating the influence of Daubert’s cross-
examination safeguard on attorneys’ and jurors’ judgments about scientific evidence. Paper
presented at the meeting of the American Psychology-Law Society, New Orleans, LA.

Perillo, J. T., Perillo, A., & Kovera, M. B. (2014, March). Remedying adversarial allegiance?
An investigation of the impact of concurrent testimony from referral through testimony ln
Tess M. S. Neal (Chair), Expert witness bias Symposium presented at the meeting of the
American Psychology-Law Society, Portland, OR.

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Rhead, L. M., Austin, J. L., Zimmerman, D. M., Clark. S., Powell, A., & Kovera, M. B. (2014,
March). Administrator knowledge influences pressure applied to witnesses to identify the
suspect in a lineup. Paper presented at the meeting of the American Psychology-Law
Society, New Orleans, LA.

Zimmerman, D. M., Modjadidi, K., Almeida, K., & Kovera, M. B. (2014, March). The effects of
PTP exposure on implicit associations and guilt judgments Paper presented at the meeting
of the American Psychology-Law Society, New Orleans, LA.

Austin, J. L., Zimmerman, D. M., Rhead, L.M., Despodova, N., DeLuca, J., & Kovera, M. B.
(2013, March). Administrator behavior during single-blind and double-blindphotoarray
administration Paper presented at the meeting of the American Psychology-Law Society,
Portland, OR.

Kovera, M. B. (2013, March). The future of jury research. Symposium chaired at the meeting of
the American Psychology-Law Society, Portland, OR.

McAuliff, B. D., Gonzalez, J., Arter, J. L., & Kovera, M. B. (2013, March). “I object!”:
Attomeys’ ability to detect scientifically invalid testimony Paper presented at the meeting of
the American Psychology~Law Society, Portland, OR.

Perillo, J. T., Perillo, A. D., Yarbrough, A. M., Connors, A., & Kovera, M. B. (2013, March).
Remedying adversarial allegiance? An investigation of the concurrent presentation of expert
testimony In Tess M. S. Neal (Chair), When and how are experts biased? Understanding
adversarial allegiance in forensic assessment. Symposium presented at the meeting of the
American Psychology~LaW Society, Portland, OR.

Rhead, L.M., Austin, J. L., Zimmerman, D. M., & Kovera, M. B. (2013, March). Perpetrator
exposure length, witness motivation and suspect/perpetrator similarity moderate the effects
of administrator knowledge on eyewitness identification accuracy. Paper presented at the
meeting of the American Psychology-Law Society, Portland, OR.

Yarbrough, A., & Kovera, M. B. (2013, March). Do demonstratives improve the procedural
safeguard of opposing expert testimony? Paper presented at the meeting of the American
Psychology-Law Society, Portland, OR.

Zimmerman, D. M., Austin, J. L. Rhead, L.M., Almonte, R., Toro, L., & Kovera, M. B. (2013,
March). Witness memory strength moderates the behavior of single-blind lineup

administrators Paper presented at the meeting of the American Psychology-Law Society,
Portland, OR.

Austin, J. L., Zimmerman, D. M., Rhead, LM., Almeida, K., & Kovera, M. B. (2012, March).
Suspect similarity to perpetrator moderates the eject of administrator knowledge on
eyewitness identification accuracy. Paper presented at the meeting of the American
Psychology-Law Society, San Juan, Puerto Rico.

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Berman, M. K., Austin, J. L., Levett, L. M., & Kovera, M. B. (2012, March). Do court-
appointed experts or educational instructions safeguard against junk science? Paper
presented at the meeting of the American Psychology-Law Society, San Juan, Puerto Rico.

Perillo, J., & Kovera, M. B. (2012, March). Expert testimony and juror decisions: The impact of
expert trustworthiness Paper presented at the meeting of the American Psychology-Law
Society, San Juan, Puerto Rico.

Yip, J., & Kovera, M. B. (2012, March). The influence of defendants ’ relationship to the victim
and psychological diagnosis in an infanticide case. Paper presented at the meeting of the
American Psychology-Law Society, San Juan, Puerto Rico.

Zimmerman, D. M., Austin, J. L., Rhead, L., Almeida, K., & Kovera, M. B. (20l2, March).
Retention interval and suspect/perpetrator similarity moderate the effects of administrator
knowledge on eyewitness identification accuracy. Paper presented at the meeting of the
American Psychology-Law Society, San Juan, Puerto Rico.

Rhead, L., Rodriguez, D., Korobeynikov, V., Yip, J. & Kovera, M. B. (2011, June). The effects
of administrator influence and mortality salience on witness identification accuracy. Paper
presented at the meeting of the Society of Applied Research on Memory and Cognition, New
York, NY.

Austin, J L. ,,Zimmerman D. M. ,,Gundrum L. ,& Kovera, M. B. (2011, March). Moderators of
administrator steering ejj”ects on eyewitness identification accuracy Paper presented at the
meeting of the American Psychology- Law Society/4‘h International Congress of Psychology
and Law, Miami, FL.

Crocker, C. B. ,& Kovera, M. B. (2011, March). The e]ficacy of juror rehabilitation for
reducing attitudinal bias against the insanity defense Paper presented at the meeting of the
American Psychology-Law Society/4th International Congress of Psychology and Law,
Miami, FL.

Crocker, C. B., & Kovera, M. B. (2011, March). The psychological mechanisms underlying the
effect of juror rehabilitation for pretrial publicity bias on judgments Paper presented at the
meeting of the American Psychology-Law Society/4th Intemational Congress of Psychology
and Law, Miami, FL.

Kennard, J. B ,& Kovera, M. B (ZOll, March). Psychological mechanisms underlying
racially-biased peremptory challenges Paper presented at the meeting of the American
Psychology-Law Society/4th International Congress of Psychology and Law, Miami, FL.

Zimmerman, D. M., Yip, J., Przegienda, K., Baerga, C., & Kovera, M. B. (2011, March).
Behavioral confirmation during voir dire. Does questioning style di']j‘erentially ajj"ect
cognitive dissonance and verdicts? Paper presented at the meeting of the American
Psychology-Law Society/4th lnternational Congress of Psychology and Law, Miami, FL.

 

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Appleby, S. C., & Kovera, M. B. (2010, August). Generic prejudice injury trials Paper
presented at the meeting of the American Psychological Association, San Diego, CA.

Levett, L. M., Crocker, C. B., & Kovera, M. B. (2010, August). Attitudes toward juvenile
waiver and juror decisions in waiver cases Paper presented at the meeting of the American
Psychological Association, San Diego, CA.

Perillo, J. T., & Kovera, M. B. (2010, August). Expert witness trustworthiness and juror
decisions Paper presented at the meeting of the American Psychological Association, San
Diego, CA.

Austin, J. L., & Kovera, M. B. (2010, March). The effects of inquisitorial versus adversarial
cross-examination on juror evaluations of expert evidence validity. Paper presented at the
meeting of the American Psychology-Law Society, Vancouver, BC, Canada.

Crocker, C. B., Kennard, J. B., Austin, J. L., Zimmerman, D. M., & Kovera, M. B. (2010,
March). The effects of biased voir dire questions on juror decision-making Paper presented
at the meeting of the American Psychology-Law Society, Vancouver, BC, Canada.

Greathouse, S. M., & Kovera, M. B. (2010, March). Can cross-examination assist jurors in
detecting deception? Paper presented at the meeting of the American Psychology-Law
Society, Vancouver, BC, Canada.

Greathouse, S. M., & Kovera, M. B. (2010, March). The ejectiveness of cross-examination in
inducing behavioral differences in deceptive and truthful witnesses Paper presented at the
meeting of the American Psychology-Law Society, Vancouver, BC, Canada.

Kennard, J. B., Crocker, C. B., Austin, J. L., Zimmerman, D. M., & Kovera, M. B. (2010,
March). Behavioral confirmation in voir dire: Ejj"ects on jury selection and verdict choices
Paper presented at the meeting of the American Psychology-Law Society, Vancouver, BC,
Canada.

Vitriol, J., & Kovera, M. B. (2010, March). Death qualification and jurors ’ evidentiary
requirements for conviction Paper presented at the meeting of the American Psychology-
Law Society, Vancouver, BC, Canada.

Kovera, M. B. (2009, October). Biased hypothesis testing and behavioral confirmation in jury
selection procedures In N. Kerr (Chair), Current research at the social psychology/law
interface. Symposium presented at the meeting of the Society for Experimental Social
Psychology, Portland, ME.

Vitriol, J. A., & Kovera, M. B. (2009, May). Capital voir dire: Pre and post-trial effects of death
qualification Paper presented at the meeting of the Association for Psychological Science,
San Francisco, CA.

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Austin, J., & Kovera, M. B. (2009, March). The ejfects of judge versus attorney cross-
examination of experts on juror evaluations of evidence quality. Paper presented at the
meeting of the American Psychology-Law Society, San Antonio, TX.

*winner of the APLS Student Section Poster Award

Crocker, C. B., Kennard, J. B., Greathouse, S. M., & Kovera, M. B. (2009, March). An
investigation of attorneys' questioning strategies during voir dire. Paper presented at the
meeting of the American Psychology-Law Society, San Antonio, TX.

Forbes, A., Kovera, M. B., & Glasf`ord, D. (2009, March). Racial disparities in punishment and
guilt judgments for defendants accused of terrorism Paper presented at the meeting of` the
American Psychology-Law Society, San Antcnio, TX.

Greathouse, S. M., Crocker, C. B., & Kovera, M. B. (2009, March). Ejfects of harassment
severity and reporting behavior on juror decision making in sexual harassment cases Paper
presented at the meeting of the American Psychology-Law Society, San Antonio, TX.

Kennard, J, B., Zimmerman, D. M., & Kovera, M. B. (2009, March). The general acceptance of
pretrial publicity phenomena. Paper presented at the meeting of` the American Psychology-
Law Society, San Antonio, TX.

Kovera, M, B., & Greathouse, S. M. (2008, October). Social influence in lineup procedures: The
role of lineup administrator knowledge in mistaken eyewitness identifications In M. R.
Leippe and M. B. Kovera (Co-chairs), Social psychology of the eyewitness: Social influences
and meta-cognitive processes in choosing from a lineup and being confident about it.
Symposium presented at the meeting of` the Society for Experimental Social Psychology,
Sacramento, CA.

Busso, J. B. ,& Kovera, M. B. (2008, August). Effect of defendant race and age on verdict
choice. Paper presented at the 116th Annual Convention of` the American Psychological
Association, Boston, MA.

Crocker, C. B. ,& Kovera, M. B. (2008, August). The effects of watching juror rehabilitation on
juror judgments Paper presented at the 116 Annual Convention of the American
Psychological Association, Boston, MA.

Greathouse, S. M. ,,Levett L. M., & Kovera, M.B. (2008,August).1hethejjhects of voir dire on
juror decisions tn juvenile waiver cases Paper presented at the 116 Annual Convention of
the American Psychological Association, Boston, MA.

Busso, J. B., Greathouse, S. M., Crocker, C. B., Austin, J., Vitriol, J., Torkildson, J., & Kovera,
M. B. (2008, March). Do attorneys' expectations influence juror behavior in voir dire?
Paper presented at the meetings of` the American Psychology-Law Society, Jacksonville, FL.

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Crocker, C. B., Busso, J. B., Greathouse, S. M., & Kovera, M. B. (2008, March). Hypothesis
testing in voir dire: Information gathering and inference Paper presented at the meetings of
the American Psychology-Law Society, Jacksonville, FL.

Crocker, C. B., & Kovera, M. B. (2008, March). An empirical investigation of the legal
assumptions underlying juror rehabilitation during voir dire. Paper presented at the meetings
of the American Psychology-Law Society, Jackscnville, FL.

Greathouse, S. M., Crocker, C. B., Busso, J., Austin, J., Vitriol, J., Torkildson, J., & Kovera, M.
B. (2008, March). Do attorney expectations influence the voir dire process? Paper
presented at the meetings of the American Psychology-Law Society, Jacksonville, FL.

Sothmann, F. C., & Kovera, M. B. (2008, March). Do jurors follow the law when evaluating
accomplice testimony? Paper presented at the meetings of` the American Psychology-Law
Society, Jacksonville, FL.

DeAngelis, R., Kovera, M. B., Busso, J., & Sothmann, F. C. (2007, August). Narrative
construction of hate crime prototypes Paper presented at the l 15th Annual Convention of the
American Psychological Association, San Francisco, CA.

Levett, L. M., Greathouse, S. M., Sothmann, F. C., Copple, R., & Kovera, M. B. (2007, August).
When juveniles are tried as adults.' Does the juvenile qualification process result in a biased
jury? Paper presented at the 115hh Annual Convention of` the American Psychological
Association, San Francisco, CA.

Levett, L. M., & Kovera, M. B. (2006, November). Improving the opposing expert safeguard
against junk science: Does a non-adversarial expert work? Paper presented at the meetings
of` the American Society of Criminology, Los Angeles, CA.

Kovera, M. B. & Greathouse, S. M. (2006, July). Why don't you take another look at number
three? Moderators and mediators of the investigator bias effect on eyewitness accuracy. In L.
Stromwell (Chair), Recent developments in eyewitness research. Symposium presented at
the 26th International Congress of Applied Psychology, Athens, Greece.

Greathouse, S. M., & Kovera, M. B. (2006, May). Effects of single-blind lineup administration
on administrator behavior and perceived lineup fairness In A. Crossman (Chair), Making an
eyewitness identification.' How and when and why do we choose? Symposium presented at
the meetings of the Association for Psychological Science, New York, NY.

Crocker, C. B., Levett, L. M., & Kovera, M. B. (2006, March). The predictive validity of the
Juvenile Waiver Scale and its generalizability across participant groups Paper presented at
the meetings of` the American Psychology-Law Society, St. Petersburg, FL.

Greathouse, S. M., Levett, L. M., & Kovera, M. B. (2006, March). The effects of voir dire on
juror decisions in juvenile waiver cases Paper presented at the meetings of the American
Psychology-Law Society, St. Petersburg, FL.

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Levett, L. M., Greathouse, S. M., Sothmann, F. C., Copple, R., & Kovera, M. B. (2006, March).
When juveniles are tried as adults: Does the juvenile qualification process result in a biased
jury? In E. Brank & L. M. Levett (Co-chairs), Players in the juvenile justice puzzle: From
public sentiment to putting it into practice. Symposium presented at the meetings of the
American Psychology-Law Society, St. Petersburg, FL.

Levett, L. M., & Kovera, M. B. (2006, March). Psychological mediators in the relationship
between opposing expert testimony and juror decisions In L. M. Levett (Chair), Juror
decision making about expert evidence. Symposium presented at the meetings of the
American Psychology-Law Society, St. Petersburg, FL.

Sothmann, F. C., & Kovera, M. B. (2006, March). Does accomplice testimony make a
difference? An evaluation of accomplice testimony in court. Paper presented at the meetings
of the American Psychology-Law Society, St. Petersburg, FL.

Sothmann, F. C., Rosenthal, M., Greathouse, S. M., Levett, L. M., & Kovera, M. B. (2006,
March). Effects of voir dire questions on a juvenile waiver case. Paper presented at the
meetings of the American Psychology-Law Society, St. Petersburg, FL.

Levett, L. M., Greathouse, S. M., & Kovera, M. B. (2005, November). Racial differences in
attitude toward juvenile Waiver to adult court: A mata-analysis Paper presented at the
meetings of the American Society of` Criminology, Toronto, Ontario.

Greathouse, S. M., & Kovera, M. B. (2005, July). The effects of litigation strategies on
decision-making in sexual harassment cases: Theory and practice Paper presented at the 29th
International Congress on Law and Mental Health, Paris, France.

Levett, L. M., & Kovera, M. B. (2005 , July). Juror reasoning about expert psychological
testimony. Paper presented at the 29‘h International Congress on Law and Mental Health,
Paris, France.

Danielsen, E., & Kovera, M. B. (2005, June). The role of repeated attitudinal expressions in
` predicting juror behavior. Paper presented at the meetings of the American Society of Trial
Consultants, Philadelphia, PA.

Danielsen, E., & Kovera, M. B. (2005 , March). The role of repeated attitudinal expressions in
predicting juror behavior. Paper presented at the meetings of the American Psychology-Law
Society, La Jolla, CA.

Greathouse, S. M., & Kovera, M. B. (2005, March). Blind administration of lineups: Effects on
identification accuracy. ln G. L. Wells (Chair), Advances in eyewitness system-variable
research, Symposium presented at the meetings of the American Psychology-Law Society,
La Jolla, CA.

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Greathouse, S. M., & Kovera, M. B. (2005, March). Does self-referencing mediate the effects of
expert testimony on judgments in a sexual harassment case? Paper presented at the meetings
of the American Psychology-Law Society, La Jolla, CA.

Levett, L. M., & Kovera, M. B. (2005, March). Do attitudes toward juvenile waiver affect juror
decisions? An evaluation of the Juvenile Waiver Scale. Paper presented at the meetings of
the American Psychology-Law Society, La Jolla, CA.

Levett, L. M., & Kovera, M. B., Goodman-Delahunty, J. (2005, March). Juror common
understanding of workplace harm. Paper presented at the meetings of the American
Psychology-Law Society, La Jolla, CA.

Samis, A., Vargas, J., Gonzalez, K., McAuliff, B. D., & Kovera, M. B. (2005, March). Can
jurors recognize missing control groups, confounds, and experimenter bias in expert
evidence? Poster presented at the meetings of` the American Psychology-Law Society, La
Jolla, CA.

Greathouse, S. M., & Kovera, M. B. (2004, July). Effects of litigation strategies on decision
making in sexual harassment cases In L. M. Levett, S. M., Greathouse, & M. B. Kovera
(Co-Chairs), Consequences of sexual harassment.' Legal and cultural considerations
Symposium presented at the 112th Annual Convention of the American Psychological
Association, Honolulu, HI.

Levett, L. M., Kovera, M. B., & Goodman-Delahunty, J. (2004, July). Clinical psychologists’
beliefs about the sequelae of sexual harassment In L. M. Levett, S. M., Greathouse, & M. B.
Kovera (Co-Chairs), Consequences of sexual harassment.' Legal and cultural considerations
Symposium presented at the 112“‘ Annual Convention of the American Psychological
Association, Honolulu, HI.

McAuliff, B. D., & Kovera, M. B. (2004, July). Juror Need for Cognition and sensitivity to
internal validity threats Paper presented at the 112th Annual Convention of the American
Psychological Association, Honolulu, HI.

Danielsen, E., Levett, L. M., & Kovera, M. B. (2004, March). When juveniles are tried as
adults: What happens during voir dire? Paper presented at the meetings of the American
Psychology-Law Society, Scottsdale, AZ.

Greathouse, S. M., & Kovera, M. B. (2004, March). The effects of lineup administrator
knowledge on eyewitness identifications Paper presented at the meetings of the American
Psychology-Law Society, Scottsdale, AZ.

Levett, L. M., Danielsen, E., & Kovera, M. B. (2004, March). Assessing the convergent and
discriminant validity of the juvenile waiver scale. Paper presented at the meetings of the
American Psychology-Law Society, Scottsdale, AZ.

 

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Levett, L. M., Danielsen, E., & Kovera, M. B. (2004, March). The predictive Validity of the
juvenile waiver scale. ln M. B. Kovera & L. M. Levett (Co-chairs), New directions injury
selection and trial consulting research, Symposium presented at the meetings of the
American Psychology-Law Society, Scottsdale, AZ

Steighner, N., & Kovera, M. B. (2004, March). Biased hypothesis testing during traditional
attorney voir dire. In M. B. Kovera & L. M. Levett (Co-chairs), New directions injury
selection and trial consulting research. Symposium presented at the meetings of the
American Psychology-Law Society, Scottsdale, AZ.

Narchet, F. M., & Kovera, M. B (2003, August) Hostile and benevolent prejudice A new
perspective on racism. Poster presented at the 111 Annual Convention of the American
Psychological Association, Toronto, Canada.

Kovera, M. B. (20()3 , July). Considering the relationships among ecological, external, and
internal Validity. ln S. Penrod (Chair), Applications of jury research: A debate on the
selection of research questions and methods Symposium presented at the Psychology and
Law lnternational, Interdisciplinary Conference, Edinburgh, Scotland.

Levett, L. M., Danielsen, E., & Kovera, M. B. (2003, July). Racial dij“erences in attitudes
toward juvenile waiver to adult court. Paper presented at the Psychology and Law
International, Interdisciplinary Conference, Edinburgh, Scotland.

Levett, L. M., & Kovera, M. B. (2003, July). Can opposing experts educate jurors about
unreliable expert evidence on child eyewitness memory? ln B. L. Cutler & L. Van
Wallandael (Chairs), Expert psychological testimony on eyewitness memory. Symposium
presented at the Psychology and Law Intemational, Interdisciplinary Conference, Edinburgh,
Scotland.

Levett, L. M, Kovera, M. B., & Goodman-Delahunty, J. (2003, July). U.S. jurors' beliefs about
the psychological sequelae of Sexual harassment In R. L. Wiener (Chair), Advances in
empirical research on gender and the law.' People 's errors and misconceptions. Symposium
presented at the Psychology and Law International, Interdisciplinaly Conference, Edinburgh,
Scotland.

Goodman-Delahunty, J., & Kovera, M. B. (2002, September). Psychological injury and
workplace sexual harassment Blaming the Victim. In D. Bright (Chair), Persuasion and
emotion in legal contexts Symposium presented at the 37th Annual Convention of the
Australian Psychological Society, Gold Coast, Queensland.

Kovera, M. B. (2002, August). New directions for jury deliberation research, In A. Claussen-
Schultz (Chair), Current research on the jury deliberation process Symposium presented at
the 110 Annual Convention of the American Psychological Association, Chicago

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Carpenter, T. & Kovera, M. B. (2002, March). The effects of defendant accounts on damage
award decisions Paper presented at the biennial meeting of the American Psychology-Law
Society, Austin, Texas.

Cass, S. A., & Kovera, M. B. (2002, March). The influence of harassment severity, frequency
and company response on juror decisions Paper presented at the biennial meeting of the
American Psychology-Law Society, Austin, Texas.

Collett, M. E., & Kovera, M. B. (2002, March). The differential effects of American versus
British trial procedures on juror decision-making Paper presented at the biennial meeting of
the American Psychology-Law Society, Austin, Texas.

Devenport, J. L., Stinson, V., & Kovera, M. B. (2002, March). Should we call in an expert?
Using meta-analysis to examine the impact of expert testimony on juror verdicts Paper
presented at the biennial meeting of the American Psychology-Law Society, Austin, Texas

Mitchell, T., & Kovera, M. B. (2002, March). The effects of attribution of responsibility and
work history on perceptions of reasonable accommodations Paper presented at the biennial
meeting of the American Psychology-Law Society, Austin, Texas.

Russano, M. B., Dickinson, J. J., Cass, S. A., Kovera, M. B., & Cutler, B. L. (2002, March).
Testing the effects of lineup administrator knowledge in simultaneous and sequential lineups
Paper presented at the biennial meeting of` the American Psychology-Law Society, Austin,
Texas.

Kovera, M. B. (2001, August). Recent research and the NIJ guidelines for eyewitness evidence.
Paper presented at the 109th Annual Convention of the American Psychological Association,
San Francisco.

Russano, M. B., & Kovera, M. B. (2001, August). Psychologists ’ evaluations of valid and
flawed psychological science. Paper presented at the 109th Annual Convention of the
American Psychological Association, San Francisco.

McAuliff, B. D., & Kovera, M. B. (2000, August). Effects of age, crime, and cross-examination
- on children ’s credibility. Paper presented at the 108th Annual Convention of the American
Psychological Association, Washington, DC.

McAuliff, B. D., & Kovera, M. B. (2000, August). Juror attitudes toward innovative testimonial
procedures in child abuse proceedings Paper presented at the 108th Annual Convention of
the American Psychological Association, Washington, DC.

Hebert, K. S. & Kovera, M. B. (2000, March). Jurors ’ use of social famework evidence Paper
presented at the biennial meeting of the American Psychology-Law Society, New Orleans,
LA.

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M. B. Kovera
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Kovera, M. B. & McAuliff, B. D. (2000, March). Attorneys evaluations of psychological
science: Does evidence quality matter? In M. B. Kovera & B.D. McAuliff (Co-Chairs),
Judge, attorney, and juror decisions about scientific and statistical evidence Symposium
conducted at the biennial meeting of` the American Psychology-Law Society, New Orleans,
LA.

McAuliff, B. D. & Kovera, M. B. (2000, March). Effects of legal accommodations on juror
expectancies for child witness demeanor. In B. L. Bottoms & M. B. (Co-Chairs), Juror
perceptions of child witnesses Symposium conducted at the biennial meeting of the
American Psychology-Law Society, New Orleans, LA.

Kovera, C. A., Kovera, M. B., Pablo, J., Ervin, F. R., Williams, I. C., & Mash, D, C. (1999,
November). Anti-addiction benefits of ibogaine: Mood elevation and drug craving
reduction Paper presented at the meeting of the Society for Neuroscience, Miami, FL.

McAuliff, B. D. ,& Kovera, M. B (1999, August). Can jurors detect methodological flaws in
scientific evidence? Paper presented at the 107 Annual Convention of the American
Psychological Association, Boston, MA.

McAuliff, B. D., & Kovera, M. B. (1999, July). Juror sensitivity to methodological flaws in
expert evidence ln S. D. Penrod (Chair), The use of scientific evidence: Empirical, legal, and
comparative perspectives Symposium conducted at the meeting of the European
Association for Psychology and Law, Dublin, Ireland.

Phillips, M. R., McAuliff, B. D., Kovera, M. B. & Cutler, B. L. (1999, July). Investigator bias
and witness confidence In K. McClure (Chair), Eyewitness identifications ofsuspects' New
views on the relationship between confidence and accuracy. Symposium conducted at the
meeting of the European Association for Psychology and Law, Dublin, Ireland.

Kovera,M.B.(1998,August).I-1a11marks of a successful grant proposal. In J. Schklar & L.
Butts (Chairs), Grant getting opportunities for graduate students in psychology and law.
Symposium conducted at the 106th Annual Convention of the American Psychological
Association, San Francisco, CA.

Kovera, M. B. ,& McAuliff. B. D. (1998, August). Judgeth evaluations of expert evidence Are
they effective gatekeepers? Paper presented at the 106 Annual Convention of the American
Psychological Association, San Francisco, CA

McAuliff, B. D. ,& Kovera, M. B. (1998, August). Juror beliefs about witness suggestibili‘ty: Is
there common understanding? Paper presented at the 106 Annual Convention of the
American Psychological Association, San Francisco, CA.

Kovera, M. B., & McAuliff, B. D. (1998, August). Judge and juror evaluations of scientific
evidence In J. L. Jackson (Chair), Judge and jury decision-making Symposium conducted
at the International Congress for Applied Psychology, San Francisco, CA.

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M. B. Kovera
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Kovera, C. A., Kovera, M. B., Singleton, E. G., Ervin, F. R., Williams, I. C. & Mash, D. C.
(1998, June). Decreased drug craving during inpatient detoxification with ibogaine. Paper
presented at the meeting of the College on Problems of Drug Dependence, Scottsdale, AZ.

Phillips, M., McAuliff, B. D., Kovera, M. B., & Cutler, B. L. (1998, March). Investigator bias
in photoarrays. Paper presented at the Florida Cognition Conference, North Miami, FL.

McAuliff, B, D., Kovera, M. B., & Viswesvaran, C. (1998, March). Methodological issues in
child witness suggestibility research. In B. L. Bottoms & J. A. Quas (Chairs), Situational
and individual sources of variability in children ’s suggestibility and false memories
Symposium conducted at the biennial meeting of the American Psychology-Law Society,
Redondo Beach, CA.

McAuliff, B. D., & Kovera, M. B. (1998, March). A survey of expert beliefs about witness
suggestibility. Paper presented at the biennial meeting of the American Psychology-Law
Society, Redondo Beach, CA.

Phillips, M., McAuliff, B. D., Kovera, M. B., & Cutler, B. L. (1998, March). Investigator bias
in photoarrays. Paper presented at the biennial meeting of the American Psychology-Law
Society, Redondo Beach, CA.

Kovera, M. B., McAuliff, B. D., & Hebert, K. S. (1997, August). Juror evaluations of expert
evidence validity. Paper presented at the 105th Annual Convention of the American
Psychological Association, Chicago.

McAuliff, B. D. & Kovera, M. B. (1997, August). Cognitive, social, and developmental factors
in suggestibility: A meta-analysis Paper presented at the 105th Annual Convention of the
American Psychological Association, Chicago.

Kovera, M. B. (Panelist). (1996, August). In B. A. Watts (Chair), Marketingyourself: Recent
graduates discuss their strategies Symposium conducted at the 104th Annual Convention of
the American Psychological Association, Toronto, Canada.

Devenport, J. L., Stinson, V., & Kovera, M. B. (1996, March). How much impact does expert
testimony have on juror decisions? A meta-analysis. Paper presented at the biennial meeting
of the American Psychology-Law Society, Hilton Head, SC.

Kovera, M. B. (1996, March). “If it does not fit, you must acquit”: General pretrial publicity,
rape, and evidence plausibility. Paper presented at the biennial meeting of` the American
Psychology-Law Society, Hilton Head, SC.

Kovera, M. B., Borgida, E., & Gresham, A. W. (1996, March). The impact of child witness
preparation and expert testimony on juror decision making. In B. L. Bottoms & M. A.
Epstein (Chairs), Jurors ’ decisions in child sexual assault cases Symposium conducted at
the biennial meeting of the American Psychology-Law Society, Hilton Head, SC.

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Kovera, M. B. (1994, August). Attitudes as a moderator of media influence on credibility
appraisals Paper presented at the 102nd Annual Convention of the American Psychological
Association, Los Angeles, Califomia.

Park, R. C., Kovera, M. B., & Penrod, S. D. (1992, September). Jurors ’ perceptions of hearsay
evidence Paper presented at the third European Law and Psychology Conference, Oxford,
England.

Kovera, M. B., & Borgida, E. (1992, August). Children on the witness stand: A persuasion
analysis of jurors ’ perceptions Paper presented at the IOOth Annual Convention of the
American Psychological Association, Washington, D.C.

Borgida, E., & Kovera, M. B. (1992, May). Expert testimony in child sexual abuse cases: The
use and abuse of psychological data. Paper presented at the NATO Advanced Study
Institute, Lucca, Italy.

Kovera, M. B., Levy, R. J., Borgida, E., & Penrod, S. (1992, March). Expert witnesses in child
sexual abuse cases: Effects of expert testimony and cross-examination Paper presented at
the biennial meeting of the American Psychology-Law Society, San Diego, Califomia.

Bull (Kovera), M. A., Park, R. C., & Penrod, S. (1991, September). Jurors ’ perceptions of
eyewitness and hearsay evidence Paper presented at the Hearsay Reform Conference,
Minneapolis, Minnesota.

Gresham, A. W., Bull (Kovera), M. A., Regan, P. C., & Borgida, E. (1991, June). The influence
of expert testimony and child witness demeanor on jury decision making. Paper presented at
the meeting of the American Psychological Society, Washington, D. C.

Bull (Kovera), M. A., Borgida, E., Gresham, A. W., & Swim, J. (1990, May). Expert testimony
in child sexual abuse cases: An empirical investigation of partisan orientation Paper
presented at the meeting of the Midwestern Psychological Association, Chicago, Illinois.

Gresham, A., Borgida, E., Swim, J., French, S. & Bull (Kovera), M. (1989, May). Juror
common understanding of child sexual abuse and children as witnesses Paper presented at
the meeting of the Midwestern Psychological Association, Chicago, Illinois.

Workshops

Kovera, M. B. (2009, February). Litigation Consulting: Research and Practice. Workshop
sponsored by the American Academy of Forensic Psychology, Fairfax, VA.

Kovera, M. B. (2005, September). Jury Selection: Research and Practice. Workshop sponsored
by the American Academy of Forensic Psychology, St. Louis, MO.

Kovera, M. B. (2005, April). Jury Selection: Research and Practice. Workshop sponsored by the
American Academy of Forensic Psychology, St. Petersburg, FL.

 

 

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Kovera, M. B. (2003, June). Jury Selection: Research and Practice. Workshop sponsored by the
American Academy of Forensic Psychology, San Juan, PR.

Invited Colloquia

American Bar Foundation, Amherst College, Beijing Normal University (China), City University
of New York-Graduate Center, College of the Holy Cross, Connecticut College, Florida Atlantic
University; Fordham University; Lewis and Clark College, Ontario Consortium on Psychology
and Law/University of Ontario Institute of Technology (Canada), Oregon State University,
Rutgers University, Scripps College, St. Thomas University (Miami), University of Alabama at
Huntsville, University of Alaska at Anchorage, University of Florida, University of
Massachusetts at Amherst, University of Minnesota, University of Nebraska-Lincoln, University
of New South Wales (Australia), University of North Florida, University of Oslo (Norway)
Case Law Citations
Decision making about scientific evidence and its admissibility

State V. Neiderbach, Supreme Court of Iowa, 837 N.W.2d 180 (2013).

State v. Farrier, Court of Appeals of Louisiana, 162 So. 3d 1233 (2015).
Eyewitness identification

People v. Reynoso, 2012 NY Slip OP 52450,

Smiley v. State, Court of Appeals of Maryland, 442 Md. 168; 111 A.3d 43 (2015).

State v. Marquez, Supreme Court of Connecticut, 291 Conn. 122 (2009).

State v. Henderson, Supreme Court of New Jersey, 208 N.J. 208 (2011).

State v. Holmes, Superior Court of Delaware, 2012 Del. Super. LEXIS 422 (2012).

Young V. Conway, United States Court of Appeals for the Second Circuit, 698 F.3d 69
(2013).

Young v. State, Supreme Court of Alaska, Supreme Court No. S-15665, No. 7110 (2016).
Hearsay Evidence

People v. Hendrickson, Supreme Court of Michigan, 459 Mich. 229; 586 N.W.2d 906
(1998).

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Ad-hoc Reviewer

American Psychologist

Analyses of Social Issues and Public Policy
Applied Cognitive Psychology

Basic and Applied Social Psychology
Canadian Journal of Behavioral Science
Canadian Psychologist

Communi'cation Yearbook

Criminal Justice and Behavior

Criminal Justice Review

Current Directions in Psychological Science
Group Processes and Interpersonal Relations
Journal of Applied Psychology

Journal of Applied Social Psychology
Journal of Behavioral Decision Making
Journal of Clinical Child Psychology
Journal of Experimental Psychology.‘ Applied
Journal of Experimental Social Psychology
Journal of 0ccupational and Organizational Psychology
Journal ofPersonality and Social Psychology
Law and Human Behavior

Law and Policy

Law and Social Inquiry

Law and Society

Personality and Social Psychology Bulletin
Perspectives on Psychological Science
Psychological Methods

Psychological Review

Psychological Science

Psychology, Crime, and Law

Psychology of Women Quarterly

Psychology, Public Policy and Law

Sex Roles

Social Cognition

Academy of the Social Sciences in Australia

Economic and Social Research Council (Europe)

National Science Foundation: Law and Social Science Program

National Science Foundation: Decision, Risk, and Management Sciences Program
Social Sciences and Humanities Research Council of Canada

William T. Grant Foundation

Allyn and Bacon
American Psychological Association Press
Columbia University Press

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Lawrence-Erlbaum

New York University Press
Oxford University Press
Prentice-Hall

Wadsworth

American Psychological Association Conference, Divisions 9 and 41
American Psychology-Law Society Conference
APA/ABA Conference on Psychological Expertise

Tenure and/or Promotion File Review

Arizona State University (Tenure/Promotion)

Bates College (Tenure/Promotion)

City University of New York (Distinguished Professor)

Florida State University at Sarasota (Tenure/Promotion; Full Professor)
George Mason University (Full Professor)

Roger Williams University (Tenure/Promotion)

Rutgers University (Tenure/Promotion)

Tufts University (Tenure/Promotion)

University of Alabama at Huntsville (Full Professor)

University of Arizona (Distinguished Professor)

University of Califomia at Davis (Distinguished Professor)
University of Colorado at Colorado Springs (Tenure/Promotion)
University of Nebraska at Lincoln (Chaired Professorship)
University of Wyoming (Tenure/Promotion)

External Reviewer for a Departmental Program Review

University of Florida, Department of Criminology, Law, and Society

Editorial, Panelist, and Advisory Board Activities

Editor-in-Chief, Law and Human Behavior (2012-present)

Editorial Board, Advances in Psychology and Law Book Series, Springer (2013-present)

Editorial Board, American Psychology-Law Society Book Series, Oxford University Press
(20 10-present)

Member, Advisory Committee for Assessment of the Netherlands Register of Court Experts
(20 17-present)

Consulting Editor, Psychology, Public Policy, and Law (2000-2006; 2012-present)

Academic Advisory Board, New York University’s Civil Jury Proj ect (2015-present)

Associate Editor, Law and Human Behavior (2002-2011)

Editorial Board, Law and Human Behavior (1996-2005)

Editorial Advisory Board, The Encyclopedia of Psychology and Law, Sage Publications (2006-
2008)

Panelist, National Science Foundation, Law and Social Sciences Program (2005-2007)

Panelist, National Science Foundation Graduate Research Fellowships (2002; 2004)

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Editorial Assistant, Journal of Personality and Social Psychology (1991-1992)

Service to Professional Organizations

American Psychological Association (APA)

Task Force on the Publication of Previously Published Material (2015)
Committee on Division/APA Relations (2009~2011; Chair, 2011)
Agenda Planning Group (2011)

American Psychology-Law Society (Division 41 of APA)

President-Elect, President, Past-President (2006-2009)
Treasurer (2000-2006)

Executive Committee (2000-2009; 2012-2018)
Publications Committee (Chair, 2012-2018)

APLS International Conference Program Co-Chair (2011)
Fellows Committee (2009-present; Chair, 2010-2011)
Early Career Psychologists Committee (2009-2011)

APA Conference Program Chair (2000)

APA Conference Program Co-Chair (1999)
Grants-in-Aid Committee (1996-1999; Chair, 1998-1999)
Continuing Education Committee (2007-2009)
Nominations and Awards Committee (2007-2009; Chair, 2008-2009)
Children and Law Committee Co-Chair (1996-1998)
Teaching and Mentoring Award Committee (2007)

Society for the Psychological Study of Social Issues (Division 9 of` APA) '

Secretary-Treasurer (2009~2012)

Executive Committee (2009~2012)

Audit and Finance Committee (Chair, 2009-2012)
Nominations and Elections Committee (2009~2012)
Fellows Committee (Chair, 2008-2010)

Court Watch Committee (1996-2005; Chair, 1997-2005)

Service to the College/University

City University of New York

Chair, Psychology and Physiological Psychology Panel, PSC-CUNY Awards (2016-2019)

Member, University Committee on Research (2016-2019)

Member, Review Oversight Committee for the CUNY Collaborative Incentive Research
Program (2013)

Member, University Task Force on the Restructuring of the PSC-CUNY Research Award
Program (2008-2010)

Psychology and Law Doctoral Program

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Director (2005-2006; 2014-2015)_
Executive Committee (2014-2018)
Comprehensive Exam Committee (2007-present; Chair, 2007-2009)
Student Admissions and Awards Committee
(2005-present; Chair, 2007-2010; 2011-2014)
Colloquium Committee (Chair, 2004-2005)
Curriculum Committee (2006-2007)
Ad-hoc Committee on Basic Science Track (2004-2005)
Criminal Justice Doctoral Program
Executive Committee (2008-2009; 2011-2012)
Comprehensive Exam Grader (2006-present)
Basic and Applied Social Psychology Doctoral Program
Steering Committee (2012-2017)
Curriculum Committee (2012-2017)
Admissions Committee (Chair; 2012-2015)

john ]ay College of Criminal ]ustice, City University of New York

Search Committee Chair, Vice Provost/Dean of Research, (2013-2014)
Search Committee, Director of Office of Sponsored Programs (2013)
Steering Committee for Faculty Developrnent Day (2012-2013)
Committee on Tenure Standards for Scholarship (2010)

Research Advisory Committee (2007-2012; 2013-2014)

Associate Provost Search Committee (2008-2009)

Research lntegrity Officer (2007-2008)

IRB Task Force (2006)

Faculty Panel, Provost Search (2006)

Honors Council (2004-2005)

Florl'da International University

Millennium Strategic Planning Committee (2000-2002)

Provost/FIU Foundation Summer Research Competition Committee (2002)
Faculty Senate Task Force on Enrollment (1999-2000)

North Campus Strategic Planning Committee (1997-1998)

Service to the Department

John Jay College of Criminal Justice, City University of New York
Forensic Psychology Research Institute Panel Member (2016-present)
Cognitive Psychology Search Committee (2017)

Developmental Psychology Search Committee (2016)

Cognitive Psychology Search Committee (2012)

Strategic Planning Committee (2009-2010)

Departmental Research Advisory Committee (2008-2010)
Departrnental Curriculum Committee (2004-2006; Chair, 2005-2006)

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Space Committee (2004-2005)
Personnel and Budget Committee (2004-2005)
Research Participant Pool Committee (2004-2008)

Flori'da International University

Legal Psychology Graduate Program (1997-2004; Director, 2000-2004)
Coordinator, Introduction to Psychology course (2000-2004)

Graduate Faculty Committee (2003)

Recruitment Committee (2000-2001, 2002-2004; Chair, 2000-2001; 2003-2004)
Applied Psychology Graduate Program (1995-1997)

Community Service

Member, Continuo Arts Symphonic Chorus (2008-present)
European premiere of Stephen Edwards' Requi’em for My Mother, Festival Internazionale di
Musica e Arte Sacra, Basilica of St. Ignatius, Rome, November 2008
World premiere of Stephen Edwards’ A Carol Fantasy, Carnegie Hall, November 2009
Summit Music Parents Association (2012-2016, Assistant Treasurer 2012-2013, Treasurer 2013-
2015; President, 2015-2016)
Summit Performing Arts Resource Council (2014-2016, board member)
Board of Deacons, Central Presbyterian Church, Summit, NJ (2010-2013; Vice-Moderator,
2011-2012; Moderator, 2012-2013)
Pastor Nominating Committee, Central Presbyterian Church, Summit, NJ (2012-2013)
Docent, Art-in-the-Classroom Program, Brayton Elementary School, Summit, NJ (2004-2010)
Coach, Summit Recreational Soccer (2010)
Assistant Coach, Summit Youth Basketball (2010)
Assistant Coach, Summit Soccer Club (2007)

Un'dergraduate Honor's Thesis Supervised
Brittany Lahey (2016)

Theses Supervised

Bradley D. McAuliff (1998)

Melissa Russano (2001)

Stacie Cass (2002)

Tara Mitchell (2002)

Fadia Narchet (2003)

Lora Levett (2004)

Sarah Greathouse (2004)

Nina Steighner (2004)

Erin Danielsen (2005) - Outstanding Student Research Award, American Society of Trial
Consultants

Frances U(aty) Sothmann (2006)

Rosa DeAngelis (2006)

Caroline Crocker (2008)

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Joseph Vitriol (2010)
Alexis [Forbes] Robinson (2010)
Jacqueline Austin (2011)
Marlee Berman (2011)
Lauren Gundrum (2011)
Jimmy Yip (2011)

Angela Yarbrough (2013)
Karima Modjadidi (2015)
Lauren Clatch (2015)
Nikoleta Despodova (2017)
Melanie Close (2017)
Sydney Wood (2017)
Alexa Hiley (2017)

Alexis Merlo (in progress)

Dissertations Supervised

Bradley D. McAuliff (2000) -- American Psychology-Law Society (APA Division 41)
Dissertation Award (1St place)

Kellye S. Hebert (2000)

Marisa Collett (2001)

Tracey R. Carpenter (2001)

Lora M. Levett (2005) -- American Psychology-Law Society (APA Division 41) Dissertation
Award (3”d place)

Sarah M. Greathouse (2009)

Caroline B. Crocker (2010) ~_ American Psychology-Law Society (APA Division 41)
Dissertation Award (2hd place)

Julia Busso Kennard (2011) - American Psychology-Law Society (APA Division 41)
Dissertation Award (3rd place)

Jacqueline Austin (2013)

David M. Zimmerman (2013)

Lindsey Rhead (2014)

Amanda Bergold (2016)

Andrew Evelo (in progress)

Karima Modj adidi (in progress)

Memberships in Professional Organizations

American Psychological Association, Fellow

American Psychology-Law Society, Fellow

Association for Psychological Science, Fellow

European Association for Psychology and Law

Law and Society Association

Society of Experimental Social Psychology, Fellow

Society for Personality and Social Psychology

Society for the Psychological Study of Social Issues, Fellow

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TEACHING

University of Minnesota (1990-1993)

Undergraduate Courses Graduate Courses

Social Psychology Applied Social Psychology

Applied Social Psychology Attitudes and Social Behavior

Reed College (1993-1995)

Introduction to Psychology

Psychology as a Cognitive Science

Legal Psychology

Social Psychology

Attitudes and Social Behavior

Florida International University (1995-2004)

Undergraduate Courses Graduate Courses

Introduction to Psychology Proseminar in Legal Psychology

Legal Psychology Proseminar in Social Psychology

Social Psychology l Experimental Psychology and Law

Attitudes and Social Behavior j Psychology of Juries

Experimental Social Psychology Social Cognition

John Jay College, City University of New York (2004-present)

Introduction to Psychology
Psychology and Law

Graduate Center, City University of New York (2004-present)
Experimental Psychology and Law

Psychology of Juries

Research Methods and Design 1

Research Practicum

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EXHIBIT D

 

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ID NUMBER INTERVIEWER COUNTY

(Hello, I’m from .)

 

We are conducting phone interviews New York State residents about an issue that has been
in the news The questions should only take a few minutes, and I think you will find them
interesting. Your phone number Was randomly selected and your answers will be entirely
anonymous I don't have your name and your phone number will not be on the
questionnaire

I need to speak with the person living in your household who is a US citizen, is over
eighteen, and who most recently celebrated their birthday. Are you that person?

IF YES: [GO TO NEXT QUESTION]
IF NO: May 1 please speak with that person? [DO CALLBACK]

Sl. What is the name of the county you live in?

BUFFALO DIVISIGN
1. Erie

2. Genesee

3. Niagara

4. Grleans

5. Wyoming

6. Chautauqua

7. Cattaraugus

8. Allegany
ROCHESTER DIVISION
9. Livingston

10. Monroe

1 1. Ontario

12. Seneca

13. Wayne

14. Yates

15. Steuben

16. Schuyler

17. Chemung
CANNOT USE

18. Other county (SPEC|FY)
19. Refused

[IF NC)T IN ANY OF THE COUNTIES WE SPECIFIED OR REFUSED~TERMINATE]
S2. Do have a New York state-issued Driver’s license? (DO NOT READ RSPONSES)
1, Yes [SKIP TO Ql]

2. No [Go To s3]
3. Refused [Go To s3]

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SS. Have you filed a tax-return in the state of New York? (DO NOT READ RSPONSES)

1. Yes [SKlP TO Ql]

2. No [GO TO S4]

3. Refused [GO TO S4]

S4. Have you received Unemployment Insurance Benefits from the state of New York?

(DO NOT READ RSPONSES)

1. Yes [SKIP TO Ql]

2. No [GO TO SS]

3. Refused [GO TO SS]

SS. Have you received Home Relief or Aid to Families with Dependent Children from
the state of New York? (DO NOT READ RSPONSES)

1. Yes [SKIP T0 Ql]
2. No [GO TO S6]
3. Refused [GO TO S6]
S6. Is there someone else who lives in the household, who is over 18? (DO NOT READ
RESPONSES)
1. Yes [GO TO SZ]
2. No [TERMINATE]
3. Refused [TERMINATE]

[IF NO ONE OVER 18 IN HOUSE OR REFUSED~TERMINATE]
[END OF SCREENING QUESTIONS]

1. How closely do you follow the news? (READ RESPONSES)

1. Very closely

2. Fairly closely

3. Not too closely

4. Not at all closely

5. Don’t know/Refused (DO NOT READ)

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Do you remember hearing a story in August, 2003, about the robbery of a federal
credit union on the Webster New York Campus of Xerox? (READ RESPONSES)

1. Yes [Ask for recall then SKIP TO Q5]
2. No [GO TO Q3]
3. Don’t know/Refused (DO NOT READ) [GO TO Q3]

What else do you recall about the story?

 

 

If I said that a customer Was fatally shot, another was injured, and that surveillance
footage of the crime was shown on news and TV media, would that sound familiar?
(READ RESPONSES)

1. Yes [Ask for recall then SKIP TO QS]
2. No [GO TO Q4]
3. Don’t know/Refused (DO NOT READ) [GO TO Q4]

What else do you recall about the story?

 

 

If I said that a manhunt for the culprit ensued and that the manhunt resulted in
local roadblocks, police checkpoints, and a multiple hour lockdown of the Xerox
campus, would that sound familiar?

1. Yes [Ask for recall then GO TO Q5]
2. No [GO TO QS]
3. Don’t know/Refused (DO NOT READ) [GO TO Q5]

What else do you recall about the story?

 

 

Are you aware that an individual has been charged in this incident with armed
robbery resulting in death? (DO NOT READ RESPONSES)

1. Yes
2. No
3. Don’t know/Refused (DO NOT READ)

An individual has been charged for this crime Do you recall the name of this
individual? (READ RESPONSES)

1. Richard Wilbern [SKIP TO Q8]
2. Other (SPECIFY) [GO TO Q7]
3. No [GO TO Q7]
4. Don’t know/Refused (DO NOT READ) [GO TO Q7]

 

11.

12.

13.

14.

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In light of what you have learned from the news and what you have told us, if you
Were a juror in this case, do you think that you could set aside this opinion and
render a verdict based only on the trial evidence? (READ RESPONSES)

[Run answers counter-balanced]

.O\$J‘:'>E*°!\).*‘

Definitely Yes

Probably Yes

Not Sure

Probably No

Definitely No

Don’t know/Refused (DO NOT READ)

In light of what you have learned from the news and what you have told us, do you
think that you could be a fair and impartial juror in a case involving charges against
Richard Wilbern? (READ RESPONSES)

[Run answers counter-balanced]

.@.U‘P‘§-*)S\)'._‘

Definitely Yes

Probably Yes

Not Sure

Probably No

Definitely No

Don’t know/Refused (DO NOT READ)

Where would you say that most of your information about this incident has come
from? (READ RESPONSES)

.°°.\]9\$".4>5”!\3!"

Newspapers

Radio

Television

Internet

Gther media

Word of mouth

Other (SPECIFY)

Don’t know/Refused (DO NOT READ)

How closely would you say you have followed the media surrounding this incident?

(READ RESPONSES)

1. Very closely

2. Somewhat closely

3. Not that closely

4. Not closely at all

5. Don’t know/Refused (DO NOT READ)

15.

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After the incident occurred, were you or someone you know affected by law
enforcement activity-such as the Xerox Campus lockdown or roadblocks--related
to the search for a suspect?

Yes, I was affected (SPECIFY effect)

Yes, someone l know Was affected (SPECIFY who and what effect)
No

Don’t know/Refused (DO NCT READ)

PE*°!°?"

[RESTART MANDATORY QUESTIONS]

16.

17.

18.

19.

What would you say is your impression, if any, of Xerox Corporation? Would you
say your impression is: (READ RESPONSES)

[Run answers counter-balanced]

Very positive

Somewhat positive

Neutral

Somewhat negative

Very negative

No impression (DO NOT READ)

Don’t know/Refused (DO NOT READ)

.\‘.O\.U‘:'>§“°!°.**‘

Are you now or have you ever been a full-time, part-time, or contracted employee of
Xerox Corporation? (READ RESPONSES)

1. Yes (SPECIFY level of employment) [GO TO Q18]
2. No [SKIP TO Q19]
3. Don’t know/Refused (DO NOT READ) [SKIP TO Q19]

Were you an employee of Xerox Corporation in August, 2003?

1. Yes (SPECIFY job title)
2. No
3. Don’t know/Refused (DO N()T READ)

Do you know anyone who has ever been a full-time, part~time, or contracted
employee of Xerox Corporation? (READ RESPONSES)

1. Yes (SPECIFY relationship) [GG TO Q20]
2. No [SKIP TO Q21]
3. Don’t know/Refused (DO NOT READ) [SKIP TO Q21]

20.

21.

22.

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Was this person employed by Xerox Corporation in August, 2003? (READ
RESPONSES)

l. Yes (SPECIFY job title)
2. No
3. Don’t know/Refused (DO NOT READ)

In your opinion, how often does racial discrimination happen in the workplace?
(READ RESPONSES)

[Run answers counter-balanced]

1. Never

2, Rarely

3. Sometimes

4. Often

5. A great deal

6. Don’t know/Refused (DO NOT READ)

What would you say is your impression, if any, of the people who file civil suits
regarding workplace discrimination? Would you say your impression is: (READ
RESPONSES)

[Run answers counter-balanced]

l. Very positive

2. Somewhat positive

3. Neutral

4. Somewhat negative

5. Very negative

6. No impression (DO N()T READ)

7. Don’t know/Refused (DO NOT READ)
Just a few more questions so that we can compare your answers with those of other
respondents:
Dl. What is your age, please? (READ RESPONSES)

1. 18-25

2. 26-40

3. 41-60

4. 61-75

5. 76+

6. Don’t know/Refused (DO NOT READ)

DZ.

D3.

D4.

DS.

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What is the last grade of formal education you have completed? (READ
RESPONSES)

l. Less than high School

2. High school graduate

3. Some college/vocational School

4. College graduate

5. Post graduate

6. Don’t know/Refused (DO NOT READ)

What is your race and ethnic background? (DO NOT READ)

African
African-American, Biack
American Indian

Asian

Biack and Hispanic
Caucasian, White
Caucasian and African-American
Caucasian and Hispanic

. Hispanic '

1. Other

2. Don’t know/Refused

""*"\O?°.\l?\.‘/‘:P?°!\J£"

How frequently do you attend religious services? (READ RESPONSES)

[Run answers counter-balanced]

Never

Once a year or less

A few times a year

A few times a month

Once a Week

More than once a Week

Don’t know/Refused (DO NOT READ)

.\’.O`\.“”:*=*P°!\)!"‘

What is your income level? (READ RESPONSES)

$0 - $10,000

$10,000 - $25,000

325,000 - $50,000

$50,000 - $100,000

Over $100,000

Don’t know/Refused (Do NoT READ)

.O\.U‘:'>‘.°°!\)f'“`

 

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That’s all the questions I have. Thank you very much for your time.

***$>i=*>l<*>l<>i=*$*>i<>l=>i=>l=*>k*>i<>i<>l<>!<>l=$*$$*>k******>i=********

D6. (DO NOT ASK UNLESS AMBIGUOUS)...What is gender do you identify with?

l. Femaie
2. Male
3. Other/Refused

****=!¢>l=>i<=i<>i=>l=>i=$>l<$***=i=*=i=*>l<$************$*$$*$$****

11. (DO NOT ASK; FOR INTERVIEWER ONLY) Did respondent ask "Is this survey
for the defense?" or any variation of this over the course of the survey?

1 . Yes
2 No

12, (DO NOT ASK; FOR INTERVIEWER ONLY) Did respondent ask "Is this about
jury service?" or any variation of this over the course of the survey?

1. Yes
2. No

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EXHIBIT E

 

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§§§a%aias Wa§§s are riggers aaa ssara:§r rise sara sss ira a§saai§§ §§ seagram

The Buffalo News (New York)
l\/larch 22, 2016 Tuesday, Buffalo News Edition

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Section: D,D; Pg. 29

Length: 352 words

Byline: Phil Fairbanks

News Staff Reporter

Body

 

The 13-year search for a bank robber who killed a man during a holdup of a credit union outside Rochester now
focuses on Buffalo and Niagara Falls.

The FBl, as part of the expanded search, unveiled a billboard with digitally enhanced photos that it hopes will lead
to new tips about the suspect's whereabouts The agency is also offering a $50,000 reward.

"Recently, we've developed information that the individual we're interested in may be living in Buffalo or Niagara
Falls and have significant ties to Rochester," said Adam S. Cohen, special agent in charge of the FBl office in
Buffalo.

The billboards and reward, announced Monday at a news conference in Rochester, are part of a renewed effort by
the FBl to find the man who was Wearing a dark blue nylon jacket with the letters "FBl" written in yellow on the back
and on the sleeves when he entered the Xerox Federal Credit Union in Webster on Aug. 12, 2003.

The suspect was also wearing a bulletproof vest, a "United States Marshals Service"-style badge around his neck,
dark-colored sunglasses and a poorly fitting Afro-style wig.

The FBl says the man, after encountering resistance from an employee, removed two firearms from a large
briefcase and shot two customers, killing one and seriously wounding another. He fled with an undisclosed amount
of money.

Cohen said the FBl, the State Police and Webster police have been following up every credible tip in the case and
are hoping the billboards and reward will lead to even more information about the suspect.

"We're hoping we'll spark increased interest and leads about the individual we're looking for," Cohen said.

The FBl said the man is believed to be African-American, about 6 feet tal|, with a medium build and Weighing
between 180 and 200 pounds. Authorities believe that he was 30 to 35 years old at the time of the robbery and is
about 43 to 48 now.

The FBl is offering $50,000 for information leading to the arrest and conviction of the suspect Anyone with any
information concerning this person, is asked to contact a local FBl office at 716-856-7800 or 800-CALL-FB|.

email: titair!:)arr!rs &Dbtrftnewsl sam

 

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Buffalo, Falls are focus of search for suspect in deadly '03 robbery

Load-Date: March 22, 2016

 

End of Document

 

